              Case 2:18-cv-00530-MSD-RJK Document 650-3 Filed 05/03/23 Page 1 of 99 PageID# 15614




                                                        EXHIBIT B

                                    COSTS OF COURT REPORTERS FOR DEPOSITIONS and
                                                HEARING TRANSCRIPTS

Description                             Date         Invoice No.        Original   Video Cost   Total Cost
                                                                        Copy
Motions to compel and re-open           09/04/2020   20200046           272.50                  272.50
discovery hearing transcript
Motion for summary judgment             12/01/2022   20220044           839.30                  839.30
hearing transcript
Daubert hearing transcript              12/02/2022   202300434          677.60                  677.60
Motion in Limine and Motion to          01/10/2023   20230010           248.05                  248.05
Exclude expert hearing transcript
Pre-trial Status conference             01/18/2023   20230005           272.62                  272.62
TOTAL                                                                                           $2,310.07

Description                             Date         Invoice No.        Original   Video Cost Total Cost
                                                                        Copy
Deposition of Cannon Moss               02/14/2020   200262             1,004.50                1,004.50
Deposition of Randall Hunt              02/18/2020   200267             482.80                  482.80
Deposition of Kenneth Joyner            02/19/2020   200271             669.00                  669.00
Deposition of Michael McClellan         02/20/2020   200302             800.50                  800.50
Deposition of Jerry Hall                02/21/2020   CS4225682          451.05                  451.05
Deposition of Thomas Hurlbut            02/21/2020   CS4225682          466.20                  466.20
Deposition of Michael Wheeler           02/24/2020   200349             523.50                  523.50
Deposition of David Stinson             02/26/2020   200363             660.50                  660.50
Deposition of Steven Armbrust           03/11/2020   4259531, 4264379   1,592.85   2,590.00     4,182.85
Deposition of John Booth                03/12/2020   4262197, 4259420   1,496.35   1,834.00     3,330.35
Deposition of James Allan               03/13/2020   4260073, 4259896   1,201.10   1,591.00     2,792.10
Deposition of Philip Merilli            03/02/2020   CS4256997          491.20                  491.20
Deposition of Steven Armbrust           03/11/2020   4264379                       2,590.00     2,590.00
Deposition of Michael McClellan         10/29/2020   2032775            692.30                  692.30
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Deposition of Dr. Robert Martinez   10/23/2020   2032767            939.70     300.00     1,239.70
Deposition of Cary Booth            11/05/2020   2032040            902.00                902.00
Deposition of Jeffrey Heller        10/30/2020   2032771            690.75                690.75
Deposition of Tony Ingram           11/18/2020   4633919, 4696771   996.10     1,706.00   2,702.10
Deposition of Michael Burns         12/03/2020   4724608, 4706560   842.10     1,444.00   2,286.10
Deposition of Chris Wagel           12/7/2020    4712482            482.95                482.95
Deposition of John Strongosky       12/8/2020    4718934, 4732332   1,233.60   2,317.00   3,550.60
Deposition of Ryan Houfek           12/9/2020    4719230, 4735264   688.45     1,324.00   2,012.45
Deposition of Maryclare Kenney      12/11/2020   4759104, 4762129   795.40     1,655.00   2,450.40
Deposition of Anthony DiDeo         12/14/2020   4756615, 4758116   1,152.30   1,926.00   3,078.30
Deposition of Jermaine Swafford     12/15/2020   4738098, 4751038   799.00     2,225.00   3,024.00
Deposition of Donna Coleman         03/04/2020   200387             860.60                860.60
Deposition of Carl Warren           01/05/2021   4759797, 4774638   1,123.55   2,222.00   3,345.55
Deposition of Frederik Eliasson     01/08/2021   4778898, 4780076   1,109.90   1,796.00   2,905.90
Deposition of Robert Girardot       01/12/2021   4789553, 4788872   1,383.40   2,458.00   3,841.40
Deposition of Robert Girardot       01/13/2021   4787887, 4790461   1,234.80   2,218.00   3,452.80
Deposition of Quintin Kendall       01/14/2021   4803499, 4805732   921.10     1,655.00   2,576.10
Deposition of Dean Piacente         01/15/2021   4791778, 4793863   897.05     1,655.00   2,552.05
Deposition of Catherine Vick        01/19/2021   4790557, 4799762   1,168.90   1,976.00   3,144.90
Deposition of Anthony MacDonald     01/20/2021   4786881, 4806896   1,152.30   1,938.50   3,090.80
Deposition of Thomas Capozzi        01/22/2021   4795464, 4811194   570.60     2,086.00   2,656.60
Deposition of Michael McClellan     01/28/2021   2039701, 2039702   358.15     250.00     608.15
Deposition of Chris Luebbers        01/28/2021   2039701, 2039702   567.85     375.00     942.85
Deposition of Catherine Vick        02/05/2021   4833938, 4866050   215.60     646.00     861.60
Deposition of Jay Strongosky        03/17/2021   4896965, 4918465   463.85     423.00     886.85
Deposition of Robert Girardot       03/17/2021   4896965, 4918465   844.75     325.00     1,169.75
Deposition of Howard Marvel         03/22/2021   4968310, 4915816   1,161.80   2,174.50   3,336.30
Deposition of Steven Armbrust       03/25/2021   4944621, 4964583   403.90     423.00     826.90
Deposition of Michael Burns         03/25/2021   4944621, 4964583   324.40     282.00     606.40
Deposition of Maryclare Kenney      03/26/2021   4946236, 4964755   388.80     1,349.25   1,738.05
Deposition of Matthew Wright,       03/30/2021   2044453, 2044454   1,212.05   750.00     1,962.05
Ph.D.
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Deposition of Thomas Crowley   03/31/2021   2044417, 2102875   836.80   750.00     1,586.80
Deposition of Chris Luebbers   01/10/2023   2102825, 221229    761.60   750.00     1,511.60
TOTAL                                                                              86,020.20

GRAND TOTAL                                                                        88,330.27
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Case 2:18-cv-00530-MSD-RJK Document 650-3 Filed 05/03/23 Page 6 of 99 PageID# 15619
Case 2:18-cv-00530-MSD-RJK Document 650-3 Filed 05/03/23 Page 7 of 99 PageID# 15620
Case 2:18-cv-00530-MSD-RJK Document 650-3 Filed 05/03/23 Page 8 of 99 PageID# 15621
Case 2:18-cv-00530-MSD-RJK Document 650-3 Filed 05/03/23 Page 9 of 99 PageID# 15622
Case 2:18-cv-00530-MSD-RJK Document 650-3 Filed 05/03/23 Page 10 of 99 PageID# 15623
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Case 2:18-cv-00530-MSD-RJK Document 650-3 Filed 05/03/23 Page 12 of 99 PageID# 15625
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         Veritext Corporate Services LLC
         Tel. 973-410-4098 Email: Billing-Corp@veritext.com
         Fed. Tax ID: XX-XXXXXXX




         Bill To: ..                                                                                                                             Invoice #:                4260073
                     Norfolk Southern General
                                                                                                                                            Invoice Date:                 3/31/2020
                     Three Commerical Place
                     Norfolk, VA, 23510                                                                                                     Balance Due:                       $0.00


         Case: CSX transportation, Inc. v. Norfolk Southern Railway Company, et al.
                                                                                                                                              Proceeding Type: Depositions
         (2:18cv530)
         Job #: 4013055        |    Job Date: 3/13/2020 | Delivery: Normal                                                 Conrail Cost                                             N
                                                                                                                           Share: Y/N?
         Location:                 Atlanta, GA
                                                                                                                           NS In house                              Joe Carpenter
         Billing Atty:             ..                                                                                         Attorney:
         Scheduling Atty:          Michael E. Lacy | Troutman Pepper Hamilton Sanders LLP                             NS Matter/Claim                               LD201800202
                                                                                                                                    #:
         Witness: James Allan                                                                                                 Quantity                   Price              Amount

                     Video - Initial Services                                                                                       1.00              $295.00               $295.00

                     Video - Additional Hours                                                                                       6.00                $95.00              $570.00

                     Video - Media and Cloud Services                                                                               3.00                $46.00              $138.00

                     Video - Electronic Access                                                                                      1.00                $85.00                $85.00

                     Video - Digitizing & Transcript Synchronization                                                                5.00                $95.00              $475.00

                     Hosting & Delivery of Encrypted Files                                                                          1.00                $28.00                $28.00

         Notes:                                                                                                                               Invoice Total:              $1,591.00
                                                                                                                                                   Payment:             ($1,591.00)
                                                                                                                                                       Credit:                 $0.00
                                                                                                                                                     Interest:                 $0.00
                                                                                                                                              Balance Due:                     $0.00
         TERMS: Payable upon receipt. Accounts 30 days past due will bear a finance charge of 1.5% per month. Accounts unpaid after 90 days agree to pay all collection costs,
         including reasonable attorney's fees. Contact us to correct payment errors. No adjustments will be made after 90 days. For more information on charges related to our services
         please consult http://www.veritext.com/services/all-services/services-information




        Remit to:                                              Pay By ACH (Include invoice numbers):                                           Invoice #: 4260073
        Veritext                                                         A/C Name:Veritext                                                 Invoice Date: 3/31/2020
        P.O. Box 71303                                              Bank Name:BMO Harris Bank
        Chicago IL 60694-1303                                 Bank Addr:311 W. Monroe Chicago, IL 60606                                  Balance Due: $0.00
        Fed. Tax ID: XX-XXXXXXX                                 Account No:4353454 ABA:071000288
                                                                         Swift: HATRUS44
                                                                    Pay by Credit Card: www.veritext.com


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         Veritext Corporate Services LLC
         Tel. 973-410-4098 Email: Billing-Corp@veritext.com
         Fed. Tax ID: XX-XXXXXXX




         Bill To:                                                                                                                                Invoice #:                4264379
                     Norfolk Southern General
                                                                                                                                            Invoice Date:                 3/23/2020
                     Three Commerical Place
                     Norfolk, VA, 23510                                                                                                     Balance Due:                       $0.00


         Case: CSX transportation, Inc. v. Norfolk Southern Railway Company, et al.
                                                                                                                                              Proceeding Type: Depositions
         (2:18cv530)
         Job #: 4013061        |   Job Date: 3/11/2020 | Delivery: Normal                                                  Conrail Cost                                             N
                                                                                                                           Share: Y/N?
         Location:                 Atlanta, GA
                                                                                                                           NS In house                              Joe Carpenter
         Billing Atty:                                                                                                        Attorney:
         Scheduling Atty:          Michael E. Lacy | Troutman Pepper Hamilton Sanders LLP                             NS Matter/Claim                               LD201800202
                                                                                                                                    #:
         Witness: Steven Armburst                                                                                             Quantity                   Price              Amount

                     Video - Initial Services                                                                                       1.00              $295.00               $295.00

                     Video - Additional Hours                                                                                       7.00                $95.00              $665.00

                     Video - Extended Hours                                                                                         2.00              $142.50               $285.00

                     Video - Exhibits - Linked (LEF, PTZ, XMEF, SBF)                                                                1.00              $150.00               $150.00

                     Video - Media and Cloud Services                                                                               7.00                $46.00              $322.00

                     Video - Electronic Access                                                                                      1.00                $85.00                $85.00

                     Video - Digitizing & Transcript Synchronization                                                                8.00                $95.00              $760.00

                     Hosting & Delivery of Encrypted Files                                                                          1.00                $28.00                $28.00

         Notes:                                                                                                                               Invoice Total:              $2,590.00
                                                                                                                                                   Payment:             ($2,590.00)
                                                                                                                                                       Credit:                 $0.00
                                                                                                                                                     Interest:                 $0.00
                                                                                                                                              Balance Due:                     $0.00
         TERMS: Payable upon receipt. Accounts 30 days past due will bear a finance charge of 1.5% per month. Accounts unpaid after 90 days agree to pay all collection costs,
         including reasonable attorney's fees. Contact us to correct payment errors. No adjustments will be made after 90 days. For more information on charges related to our services
         please consult http://www.veritext.com/services/all-services/services-information




        Remit to:                                              Pay By ACH (Include invoice numbers):                                           Invoice #: 4264379
        Veritext                                                         A/C Name:Veritext                                                 Invoice Date: 3/23/2020
        P.O. Box 71303                                              Bank Name:BMO Harris Bank
        Chicago IL 60694-1303                                 Bank Addr:311 W. Monroe Chicago, IL 60606                                  Balance Due: $0.00
        Fed. Tax ID: XX-XXXXXXX                                 Account No:4353454 ABA:071000288
                                                                         Swift: HATRUS44
                                                                    Pay by Credit Card: www.veritext.com


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         Veritext Corporate Services LLC
         Tel. 973-410-4098 Email: Billing-Corp@veritext.com
         Fed. Tax ID: XX-XXXXXXX




         Bill To:                                                                                                          Invoice #:           4693919
                     Norfolk Southern General
                                                                                                                        Invoice Date:        12/11/2020
                     Three Commerical Place
                     Norfolk, VA, 23510                                                                              Balance Due:                  $0.00


         Case: CSX Transportation, Inc. v. Norfolk Southern Railway Company, Et Al.
                                                                                                                         Proceeding Type: Depositions
         (218CV530)
         Job #: 4338549         |   Job Date: 11/18/2020 | Delivery: Normal                            Third Party:                 Virginia Proceeding
         Location:                  Richmond, VA                                                     3rd pty/bill to:                   Norfolk Southern
         Billing Atty:                                                                          Claim/matter #:                            LD201800202
         Scheduling Atty:           Michael E. Lacy | Troutman Pepper Hamilton Sanders LLP

         Witness: Tony Ingram                                                                          Quantity                  Price          Amount

                     Transcript Services - Original Transcript(s)                                         238.00                 $3.85          $916.30

                     Attendance - Half Day                                                                   2.00               $75.00          $150.00

                     Exhibits                                                                             147.00                 $0.40            $58.80

                     Exhibits - Color                                                                      21.00                 $1.00            $21.00

                     Exhibit Share                                                                           1.00              $345.00          $345.00

                     Veritext Exhibit Package (ACE)                                                          1.00               $48.50            $48.50

                     Witness Read and Sign Services                                                          1.00               $35.00            $35.00

                     Litigation Package - Secure File Suite                                                  1.00               $48.00            $48.00

                     Veritext Virtual Primary Participants                                                   1.00              $295.00          $295.00

                     Hosting & Delivery of Encrypted Files                                                   1.00               $28.00            $28.00

         Notes:




        Remit to:                                        Pay By ACH (Include invoice numbers):                           Invoice #: 4693919
        Veritext                                                   A/C Name:Veritext                                Invoice Date: 12/11/2020
        P.O. Box 71303                                        Bank Name:BMO Harris Bank
        Chicago IL 60694-1303                           Bank Addr:311 W. Monroe Chicago, IL 60606                 Balance Due: $0.00
        Fed. Tax ID: XX-XXXXXXX                           Account No:4353454 ABA:071000288
                                                                   Swift: HATRUS44
                                                              Pay by Credit Card: www.veritext.com


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           Case 2:18-cv-00530-MSD-RJK Document 650-3 Filed 05/03/23 Page 17 of 99 PageID# 15630


         Veritext Corporate Services LLC
         Tel. 973-410-4098 Email: Billing-Corp@veritext.com
         Fed. Tax ID: XX-XXXXXXX




                                                                                                                                              Invoice Total:              $1,945.60
                                                                                                                                                   Payment:             ($1,926.28)
                                                                                                                                                       Credit:              ($19.32)
                                                                                                                                                     Interest:                 $0.00
                                                                                                                                              Balance Due:                     $0.00
         TERMS: Payable upon receipt. Accounts 30 days past due will bear a finance charge of 1.5% per month. Accounts unpaid after 90 days agree to pay all collection costs,
         including reasonable attorney's fees. Contact us to correct payment errors. No adjustments will be made after 90 days. For more information on charges related to our services
         please consult http://www.veritext.com/services/all-services/services-information




        Remit to:                                              Pay By ACH (Include invoice numbers):                                           Invoice #: 4693919
        Veritext                                                         A/C Name:Veritext                                                Invoice Date: 12/11/2020
        P.O. Box 71303                                              Bank Name:BMO Harris Bank
        Chicago IL 60694-1303                                 Bank Addr:311 W. Monroe Chicago, IL 60606                                  Balance Due: $0.00
        Fed. Tax ID: XX-XXXXXXX                                 Account No:4353454 ABA:071000288
                                                                         Swift: HATRUS44
                                                                    Pay by Credit Card: www.veritext.com


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           Case 2:18-cv-00530-MSD-RJK Document 650-3 Filed 05/03/23 Page 18 of 99 PageID# 15631


         Veritext Corporate Services LLC
         Tel. 973-410-4098 Email: Billing-Corp@veritext.com
         Fed. Tax ID: XX-XXXXXXX




         Bill To:                                                                                                                                Invoice #:                4696771
                     Norfolk Southern General
                                                                                                                                              Invoice Date:             12/11/2020
                     Three Commerical Place
                     Norfolk, VA, 23510                                                                                                     Balance Due:                       $0.00


         Case: CSX Transportation, Inc. v. Norfolk Southern Railway Company, Et Al.
                                                                                                                                               Proceeding Type: Depositions
         (218CV530)
         Job #: 4338549        |   Job Date: 11/18/2020 | Delivery: Normal                                                   Third Party:                     Virginia Proceeding
         Location:                 Richmond, VA                                                                            3rd pty/bill to:                     Norfolk Southern
         Billing Atty:                                                                                                  Claim/matter #:                             LD201800202
         Scheduling Atty:          Michael E. Lacy | Troutman Pepper Hamilton Sanders LLP

         Witness: Tony Ingram                                                                                                 Quantity                   Price              Amount

                     Video - Initial Services                                                                                       1.00              $295.00               $295.00

                     Video - Additional Hours                                                                                       6.00              $110.00               $660.00

                     Video - MPEG/Digitizing                                                                                        6.00                $65.00              $390.00

                     Video - Media and Cloud Services                                                                               6.00                $46.00              $276.00

                     Video - Electronic Access                                                                                      1.00                $85.00                $85.00

         Notes:                                                                                                                                Invoice Total:             $1,706.00
                                                                                                                                                   Payment:             ($1,706.00)
                                                                                                                                                       Credit:                 $0.00
                                                                                                                                                     Interest:                 $0.00
                                                                                                                                               Balance Due:                    $0.00
         TERMS: Payable upon receipt. Accounts 30 days past due will bear a finance charge of 1.5% per month. Accounts unpaid after 90 days agree to pay all collection costs,
         including reasonable attorney's fees. Contact us to correct payment errors. No adjustments will be made after 90 days. For more information on charges related to our services
         please consult http://www.veritext.com/services/all-services/services-information




        Remit to:                                              Pay By ACH (Include invoice numbers):                                           Invoice #: 4696771
        Veritext                                                         A/C Name:Veritext                                                 Invoice Date: 12/11/2020
        P.O. Box 71303                                              Bank Name:BMO Harris Bank
        Chicago IL 60694-1303                                 Bank Addr:311 W. Monroe Chicago, IL 60606                                  Balance Due: $0.00
        Fed. Tax ID: XX-XXXXXXX                                 Account No:4353454 ABA:071000288
                                                                         Swift: HATRUS44
                                                                    Pay by Credit Card: www.veritext.com


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         Veritext Corporate Services LLC
         Tel. 973-410-4098 Email: Billing-Corp@veritext.com
         Fed. Tax ID: XX-XXXXXXX




         Bill To:                                                                                                          Invoice #:         4706560
                     Norfolk Southern General
                                                                                                                        Invoice Date:       12/10/2020
                     Three Commerical Place
                     Norfolk, VA, 23510                                                                              Balance Due:                $0.00


         Case: CSX Transportation, Inc. v. Norfolk Southern Railway Company, et al.
                                                                                                                         Proceeding Type: Depositions
         (218CV530)
         Job #: 4338561         |   Job Date: 12/3/2020 | Delivery: Expedited                          Third Party:                 Virginia Proceeding
         Location:                  Richmond, VA                                                     3rd pty/bill to:          Norfolk Southern General
         Billing Atty:                                                                                    Adjuster:                      Joe Carpenter
         Scheduling Atty:           John Lynch Esq | Troutman Pepper Hamilton Sanders LLP       Claim/matter #:                          LD201800202
                                                                                                             Notes:               Conrail Cost Share: N

         Witness: Michael Burns                                                                        Quantity                  Price         Amount

                     Transcript Services - Original Transcript(s)                                         206.00                 $3.85         $793.10

                     Transcript Services - Priority Request                                               206.00                 $1.92         $395.52

                     Attendance - Half Day                                                                   2.00               $75.00         $150.00

                     Exhibits                                                                              75.00                 $0.40          $30.00

                     Exhibits - Color                                                                      19.00                 $1.00          $19.00

                     Exhibit Share                                                                           1.00              $295.00         $295.00

                     Veritext Exhibit Package (ACE)                                                          1.00               $48.50          $48.50

                     Witness Read and Sign Services                                                          1.00               $35.00          $35.00

                     Litigation Package - Secure File Suite                                                  1.00               $48.00          $48.00

                     Veritext Virtual Primary Participants                                                   1.00              $195.00         $195.00

                     Hosting & Delivery of Encrypted Files                                                   1.00               $28.00          $28.00

         Notes:




        Remit to:                                        Pay By ACH (Include invoice numbers):                           Invoice #: 4706560
        Veritext                                                   A/C Name:Veritext                                Invoice Date: 12/10/2020
        P.O. Box 71303                                        Bank Name:BMO Harris Bank
        Chicago IL 60694-1303                           Bank Addr:311 W. Monroe Chicago, IL 60606                 Balance Due: $0.00
        Fed. Tax ID: XX-XXXXXXX                           Account No:4353454 ABA:071000288
                                                                   Swift: HATRUS44
                                                              Pay by Credit Card: www.veritext.com


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           Case 2:18-cv-00530-MSD-RJK Document 650-3 Filed 05/03/23 Page 20 of 99 PageID# 15633


         Veritext Corporate Services LLC
         Tel. 973-410-4098 Email: Billing-Corp@veritext.com
         Fed. Tax ID: XX-XXXXXXX




                                                                                                                                              Invoice Total:              $2,037.12
                                                                                                                                                   Payment:             ($2,019.64)
                                                                                                                                                       Credit:              ($17.48)
                                                                                                                                                     Interest:                 $0.00
                                                                                                                                              Balance Due:                     $0.00
         TERMS: Payable upon receipt. Accounts 30 days past due will bear a finance charge of 1.5% per month. Accounts unpaid after 90 days agree to pay all collection costs,
         including reasonable attorney's fees. Contact us to correct payment errors. No adjustments will be made after 90 days. For more information on charges related to our services
         please consult http://www.veritext.com/services/all-services/services-information




        Remit to:                                              Pay By ACH (Include invoice numbers):                                           Invoice #: 4706560
        Veritext                                                         A/C Name:Veritext                                                Invoice Date: 12/10/2020
        P.O. Box 71303                                              Bank Name:BMO Harris Bank
        Chicago IL 60694-1303                                 Bank Addr:311 W. Monroe Chicago, IL 60606                                  Balance Due: $0.00
        Fed. Tax ID: XX-XXXXXXX                                 Account No:4353454 ABA:071000288
                                                                         Swift: HATRUS44
                                                                    Pay by Credit Card: www.veritext.com


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         Veritext Corporate Services LLC
         Tel. 973-410-4098 Email: Billing-Corp@veritext.com
         Fed. Tax ID: XX-XXXXXXX




         Bill To:                                                                                                      Invoice #:         4712482
                     Norfolk Southern General
                                                                                                                    Invoice Date:      12/14/2020
                     Three Commerical Place
                     Norfolk, VA, 23510                                                                            Balance Due:              $0.00


         Case: CSX Transportation, Inc. v. Norfolk Southern Railway Company, et al.
                                                                                                                     Proceeding Type: Depositions
         (218CV530)
         Job #: 4358762         |    Job Date: 12/7/2020 | Delivery: Normal                          Conrail Cost                              no
                                                                                                     Share: Y/N?
         Location:                  Detroit, MI
                                                                                                     NS In house                     Joe Carpenter
         Billing Atty:                                                                                  Attorney:
         Scheduling Atty:           Tara Reinhart Esq | Skadden Arps Slate Meagher & Flom LLP   NS Matter/Claim                      LD201800340
                                                                                                              #:
         Witness: Chris Wagel                                                                         Quantity               Price        Amount

                     Transcript Services - Original Transcript(s)                                       129.00               $3.60        $464.40

                     Attendance - Half Day                                                                 1.00             $50.00         $50.00

                     Exhibits                                                                            33.00               $0.35         $11.55

                     Exhibits - Color                                                                      7.00              $1.00           $7.00

                     Exhibit Share                                                                         1.00            $295.00        $295.00

                     Veritext Exhibit Package (ACE)                                                        1.00             $48.50         $48.50

                     Rough Draft                                                                        129.00               $1.55        $199.95

                     Litigation Package - Secure File Suite                                                1.00             $35.00         $35.00

                     Veritext Virtual Primary Participants                                                 1.00            $195.00        $195.00

                     Hosting & Delivery of Encrypted Files                                                 1.00             $28.00         $28.00

         Notes:




        Remit to:                                        Pay By ACH (Include invoice numbers):                       Invoice #: 4712482
        Veritext                                                   A/C Name:Veritext                              Invoice Date: 12/14/2020
        P.O. Box 71303                                        Bank Name:BMO Harris Bank
        Chicago IL 60694-1303                           Bank Addr:311 W. Monroe Chicago, IL 60606              Balance Due: $0.00
        Fed. Tax ID: XX-XXXXXXX                           Account No:4353454 ABA:071000288
                                                                   Swift: HATRUS44
                                                              Pay by Credit Card: www.veritext.com


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           Case 2:18-cv-00530-MSD-RJK Document 650-3 Filed 05/03/23 Page 22 of 99 PageID# 15635


         Veritext Corporate Services LLC
         Tel. 973-410-4098 Email: Billing-Corp@veritext.com
         Fed. Tax ID: XX-XXXXXXX




                                                                                                                                              Invoice Total:              $1,334.40
                                                                                                                                                   Payment:               ($839.45)
                                                                                                                                                       Credit:            ($494.95)
                                                                                                                                                     Interest:                 $0.00
                                                                                                                                              Balance Due:                     $0.00
         TERMS: Payable upon receipt. Accounts 30 days past due will bear a finance charge of 1.5% per month. Accounts unpaid after 90 days agree to pay all collection costs,
         including reasonable attorney's fees. Contact us to correct payment errors. No adjustments will be made after 90 days. For more information on charges related to our services
         please consult http://www.veritext.com/services/all-services/services-information




        Remit to:                                              Pay By ACH (Include invoice numbers):                                           Invoice #: 4712482
        Veritext                                                         A/C Name:Veritext                                                Invoice Date: 12/14/2020
        P.O. Box 71303                                              Bank Name:BMO Harris Bank
        Chicago IL 60694-1303                                 Bank Addr:311 W. Monroe Chicago, IL 60606                                  Balance Due: $0.00
        Fed. Tax ID: XX-XXXXXXX                                 Account No:4353454 ABA:071000288
                                                                         Swift: HATRUS44
                                                                    Pay by Credit Card: www.veritext.com


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           Case 2:18-cv-00530-MSD-RJK Document 650-3 Filed 05/03/23 Page 23 of 99 PageID# 15636


         Veritext Corporate Services LLC
         Tel. 973-410-4098 Email: Billing-Corp@veritext.com
         Fed. Tax ID: XX-XXXXXXX




         Bill To:                                                                                                      Invoice #:         4718934
                     Norfolk Southern General
                                                                                                                    Invoice Date:      12/17/2020
                     Three Commerical Place
                     Norfolk, VA, 23510                                                                            Balance Due:              $0.00


         Case: CSX Transportation, Inc. v. Norfolk Southern Railway Company, Et Al.
                                                                                                                     Proceeding Type: Depositions
         (218CV530)
         Job #: 4358779         |   Job Date: 12/8/2020 | Delivery: Expedited                        Conrail Cost                              No
                                                                                                     Share: Y/N?
         Location:                  Miami, FL
                                                                                                     NS In house                     Joe Carpenter
         Billing Atty:                                                                                  Attorney:
         Scheduling Atty:           John R. Thornburgh, II Esq | Skadden Arps Slate Meagher &   NS Matter/Claim                      LD201800340
                                    Flom LLP                                                                  #:
         Witness: John Strongosky                                                                     Quantity               Price        Amount

                     Transcript Services - Original Transcript(s)                                       279.00               $3.95      $1,102.05

                     Transcript Services - Priority Request                                             279.00               $1.98        $552.42

                     Attendance - Hourly                                                                 10.00              $40.00        $400.00

                     Attendance - First Hour                                                               1.00             $85.00         $85.00

                     Exhibits                                                                            93.00               $0.35         $32.55

                     Exhibits - Color                                                                    99.00               $1.00         $99.00

                     Exhibit Share                                                                         1.00            $295.00        $295.00

                     Veritext Exhibit Package (ACE)                                                        1.00             $48.50         $48.50

                     Realtime Services                                                                  279.00               $1.55        $432.45

                     Rough Draft                                                                        279.00               $1.55        $432.45

                     Litigation Package - Secure File Suite                                                1.00             $35.00         $35.00

                     Veritext Virtual Primary Participants                                                 1.00            $195.00        $195.00

                     Hosting & Delivery of Encrypted Files                                                 1.00             $28.00         $28.00

         Notes:


        Remit to:                                         Pay By ACH (Include invoice numbers):                      Invoice #: 4718934
        Veritext                                                    A/C Name:Veritext                             Invoice Date: 12/17/2020
        P.O. Box 71303                                         Bank Name:BMO Harris Bank
        Chicago IL 60694-1303                            Bank Addr:311 W. Monroe Chicago, IL 60606             Balance Due: $0.00
        Fed. Tax ID: XX-XXXXXXX                            Account No:4353454 ABA:071000288
                                                                    Swift: HATRUS44
                                                              Pay by Credit Card: www.veritext.com


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           Case 2:18-cv-00530-MSD-RJK Document 650-3 Filed 05/03/23 Page 24 of 99 PageID# 15637


         Veritext Corporate Services LLC
         Tel. 973-410-4098 Email: Billing-Corp@veritext.com
         Fed. Tax ID: XX-XXXXXXX




                                                                                                                                              Invoice Total:              $3,737.42
                                                                                                                                                   Payment:             ($3,737.42)
                                                                                                                                                       Credit:                 $0.00
                                                                                                                                                     Interest:                 $0.00
                                                                                                                                              Balance Due:                     $0.00
         TERMS: Payable upon receipt. Accounts 30 days past due will bear a finance charge of 1.5% per month. Accounts unpaid after 90 days agree to pay all collection costs,
         including reasonable attorney's fees. Contact us to correct payment errors. No adjustments will be made after 90 days. For more information on charges related to our services
         please consult http://www.veritext.com/services/all-services/services-information




        Remit to:                                              Pay By ACH (Include invoice numbers):                                           Invoice #: 4718934
        Veritext                                                         A/C Name:Veritext                                                Invoice Date: 12/17/2020
        P.O. Box 71303                                              Bank Name:BMO Harris Bank
        Chicago IL 60694-1303                                 Bank Addr:311 W. Monroe Chicago, IL 60606                                  Balance Due: $0.00
        Fed. Tax ID: XX-XXXXXXX                                 Account No:4353454 ABA:071000288
                                                                         Swift: HATRUS44
                                                                    Pay by Credit Card: www.veritext.com


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           Case 2:18-cv-00530-MSD-RJK Document 650-3 Filed 05/03/23 Page 25 of 99 PageID# 15638


         Veritext Corporate Services LLC
         Tel. 973-410-4098 Email: Billing-Corp@veritext.com
         Fed. Tax ID: XX-XXXXXXX




         Bill To:                                                                                                      Invoice #:         4719230
                     Norfolk Southern General
                                                                                                                    Invoice Date:       12/21/2020
                     Three Commerical Place
                     Norfolk, VA, 23510                                                                            Balance Due:              $0.00


         Case: CSX Transportation, Inc. v. Norfolk Southern Railway Company, et al.
                                                                                                                     Proceeding Type: Depositions
         (218CV530)
         Job #: 4365258         |   Job Date: 12/9/2020 | Delivery: Expedited                        Conrail Cost                             NO
                                                                                                     Share: Y/N?
         Location:                  Durham, NC
                                                                                                     NS In house                     Joe Carpenter
         Billing Atty:                                                                                  Attorney:
         Scheduling Atty:           John Lynch Esq | Troutman Pepper Hamilton Sanders LLP      NS Matter/Claim                       LD201800202
                                                                                                             #:
         Witness: Ryan Houfek                                                                         Quantity               Price        Amount

                     Transcript Services - Original Transcript(s)                                       184.00               $3.60         $662.40

                     Transcript Services - Priority Request                                             184.00               $1.80         $331.20

                     Attendance - Half Day                                                                 2.00             $50.00         $100.00

                     Exhibits                                                                            43.00               $0.35          $15.05

                     Exhibits - Color                                                                    11.00               $1.00          $11.00

                     Exhibit Share                                                                         1.00            $295.00         $295.00

                     Realtime Services                                                                  184.00               $1.55         $285.20

                     Rough Draft                                                                        184.00               $1.55         $285.20

                     Litigation Package - Secure File Suite                                                1.00             $35.00          $35.00

                     Veritext Virtual Primary Participants                                                 1.00            $195.00         $195.00

                     Hosting & Delivery of Encrypted Files                                                 1.00             $28.00          $28.00

         Notes:




        Remit to:                                        Pay By ACH (Include invoice numbers):                       Invoice #: 4719230
        Veritext                                                   A/C Name:Veritext                              Invoice Date: 12/21/2020
        P.O. Box 71303                                        Bank Name:BMO Harris Bank
        Chicago IL 60694-1303                           Bank Addr:311 W. Monroe Chicago, IL 60606              Balance Due: $0.00
        Fed. Tax ID: XX-XXXXXXX                           Account No:4353454 ABA:071000288
                                                                   Swift: HATRUS44
                                                              Pay by Credit Card: www.veritext.com


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           Case 2:18-cv-00530-MSD-RJK Document 650-3 Filed 05/03/23 Page 26 of 99 PageID# 15639


         Veritext Corporate Services LLC
         Tel. 973-410-4098 Email: Billing-Corp@veritext.com
         Fed. Tax ID: XX-XXXXXXX




                                                                                                                                              Invoice Total:              $2,243.05
                                                                                                                                                   Payment:             ($2,243.05)
                                                                                                                                                       Credit:                 $0.00
                                                                                                                                                     Interest:                 $0.00
                                                                                                                                              Balance Due:                     $0.00
         TERMS: Payable upon receipt. Accounts 30 days past due will bear a finance charge of 1.5% per month. Accounts unpaid after 90 days agree to pay all collection costs,
         including reasonable attorney's fees. Contact us to correct payment errors. No adjustments will be made after 90 days. For more information on charges related to our services
         please consult http://www.veritext.com/services/all-services/services-information




        Remit to:                                              Pay By ACH (Include invoice numbers):                                           Invoice #: 4719230
        Veritext                                                         A/C Name:Veritext                                                Invoice Date: 12/21/2020
        P.O. Box 71303                                              Bank Name:BMO Harris Bank
        Chicago IL 60694-1303                                 Bank Addr:311 W. Monroe Chicago, IL 60606                                  Balance Due: $0.00
        Fed. Tax ID: XX-XXXXXXX                                 Account No:4353454 ABA:071000288
                                                                         Swift: HATRUS44
                                                                    Pay by Credit Card: www.veritext.com


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           Case 2:18-cv-00530-MSD-RJK Document 650-3 Filed 05/03/23 Page 27 of 99 PageID# 15640


         Veritext Corporate Services LLC
         Tel. 973-410-4098 Email: Billing-Corp@veritext.com
         Fed. Tax ID: XX-XXXXXXX




         Bill To:                                                                                                                                Invoice #:                4732332
                     Norfolk Southern General
                                                                                                                                            Invoice Date:               12/28/2020
                     Three Commerical Place
                     Norfolk, VA, 23510                                                                                                     Balance Due:                       $0.00


         Case: CSX Transportation, Inc. v. Norfolk Southern Railway Company, Et Al.
                                                                                                                                              Proceeding Type: Depositions
         (218CV530)
         Job #: 4358779        |   Job Date: 12/8/2020 | Delivery: Normal                                                  Conrail Cost                                            No
                                                                                                                           Share: Y/N?
         Location:                 Miami, FL
                                                                                                                           NS In house                              Joe Carpenter
         Billing Atty:                                                                                                        Attorney:
         Scheduling Atty:          John R. Thornburgh, II Esq | Skadden Arps Slate Meagher &                          NS Matter/Claim                               LD201800340
                                   Flom LLP                                                                                         #:
         Witness: John Strongosky                                                                                             Quantity                   Price              Amount

                     Video - Initial Services                                                                                       1.00              $295.00               $295.00

                     Video - Additional Hours                                                                                       7.00                $95.00              $665.00

                     Video - Extended Hours                                                                                         2.00              $142.50               $285.00

                     Video - Media and Cloud Services                                                                               7.00                $46.00              $322.00

                     Video - Electronic Access                                                                                      1.00                $85.00                $85.00

                     Video - Digitizing & Transcript Synchronization                                                                7.00                $95.00              $665.00

         Notes:                                                                                                                               Invoice Total:              $2,317.00
                                                                                                                                                   Payment:             ($2,317.00)
                                                                                                                                                       Credit:                 $0.00
                                                                                                                                                     Interest:                 $0.00
                                                                                                                                              Balance Due:                     $0.00
         TERMS: Payable upon receipt. Accounts 30 days past due will bear a finance charge of 1.5% per month. Accounts unpaid after 90 days agree to pay all collection costs,
         including reasonable attorney's fees. Contact us to correct payment errors. No adjustments will be made after 90 days. For more information on charges related to our services
         please consult http://www.veritext.com/services/all-services/services-information




        Remit to:                                              Pay By ACH (Include invoice numbers):                                           Invoice #: 4732332
        Veritext                                                         A/C Name:Veritext                                                 Invoice Date: 12/28/2020
        P.O. Box 71303                                              Bank Name:BMO Harris Bank
        Chicago IL 60694-1303                                 Bank Addr:311 W. Monroe Chicago, IL 60606                                  Balance Due: $0.00
        Fed. Tax ID: XX-XXXXXXX                                 Account No:4353454 ABA:071000288
                                                                         Swift: HATRUS44
                                                                    Pay by Credit Card: www.veritext.com


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           Case 2:18-cv-00530-MSD-RJK Document 650-3 Filed 05/03/23 Page 28 of 99 PageID# 15641


         Veritext Corporate Services LLC
         Tel. 973-410-4098 Email: Billing-Corp@veritext.com
         Fed. Tax ID: XX-XXXXXXX




         Bill To:                                                                                                                                Invoice #:                4735264
                     Norfolk Southern General
                                                                                                                                            Invoice Date:               12/28/2020
                     Three Commerical Place
                     Norfolk, VA, 23510                                                                                                     Balance Due:                       $0.00


         Case: CSX Transportation, Inc. v. Norfolk Southern Railway Company, et al.
                                                                                                                                              Proceeding Type: Depositions
         (218CV530)
         Job #: 4365258        |   Job Date: 12/9/2020 | Delivery: Normal                                                  Conrail Cost                                           NO
                                                                                                                           Share: Y/N?
         Location:                 Durham, NC
                                                                                                                           NS In house                             Joe Carpenter
         Billing Atty:                                                                                                        Attorney:
         Scheduling Atty:          John Lynch Esq | Troutman Pepper Hamilton Sanders LLP                              NS Matter/Claim                               LD201800202
                                                                                                                                    #:
         Witness: Ryan Houfek                                                                                                 Quantity                   Price              Amount

                     Video - Initial Services                                                                                       1.00              $295.00               $295.00

                     Video - Additional Hours                                                                                       4.00                $95.00              $380.00

                     Video - Media and Cloud Services                                                                               4.00                $46.00              $184.00

                     Video - Electronic Access                                                                                      1.00                $85.00                $85.00

                     Video - Digitizing & Transcript Synchronization                                                                4.00                $95.00              $380.00

         Notes:                                                                                                                               Invoice Total:              $1,324.00
                                                                                                                                                   Payment:             ($1,324.00)
                                                                                                                                                       Credit:                 $0.00
                                                                                                                                                     Interest:                 $0.00
                                                                                                                                              Balance Due:                     $0.00
         TERMS: Payable upon receipt. Accounts 30 days past due will bear a finance charge of 1.5% per month. Accounts unpaid after 90 days agree to pay all collection costs,
         including reasonable attorney's fees. Contact us to correct payment errors. No adjustments will be made after 90 days. For more information on charges related to our services
         please consult http://www.veritext.com/services/all-services/services-information




        Remit to:                                              Pay By ACH (Include invoice numbers):                                           Invoice #: 4735264
        Veritext                                                         A/C Name:Veritext                                                 Invoice Date: 12/28/2020
        P.O. Box 71303                                              Bank Name:BMO Harris Bank
        Chicago IL 60694-1303                                 Bank Addr:311 W. Monroe Chicago, IL 60606                                  Balance Due: $0.00
        Fed. Tax ID: XX-XXXXXXX                                 Account No:4353454 ABA:071000288
                                                                         Swift: HATRUS44
                                                                    Pay by Credit Card: www.veritext.com


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           Case 2:18-cv-00530-MSD-RJK Document 650-3 Filed 05/03/23 Page 29 of 99 PageID# 15642


         Veritext Corporate Services LLC
         Tel. 973-410-4098 Email: Billing-Corp@veritext.com
         Fed. Tax ID: XX-XXXXXXX




         Bill To:                                                                                                                                Invoice #:                4738098
                     Norfolk Southern General
                                                                                                                                              Invoice Date:             12/30/2020
                     Three Commerical Place
                     Norfolk, VA, 23510                                                                                                     Balance Due:                       $0.00


         Case: CSX Transportation, Inc. v. Norfolk Southern Railway Company, et al.
                                                                                                                                               Proceeding Type: Depositions
         (218CV530)
         Job #: 4349030         |   Job Date: 12/15/2020 | Delivery: Normal                                                  Third Party:                     Virginia Proceeding
         Location:                  Miami, FL                                                                              3rd pty/bill to:                     Norfolk Southern
         Billing Atty:                                                                                                  Claim/matter #:                             LD201800202
         Scheduling Atty:           Michael E. Lacy | Troutman Pepper Hamilton Sanders LLP

         Witness: Jermaine Swafford                                                                                           Quantity                   Price              Amount

                     Transcript Services - Original Transcript(s)                                                                188.00                  $3.85              $723.80

                     Attendance - Half Day                                                                                          2.00                $75.00              $150.00

                     Exhibits                                                                                                    178.00                  $0.40                $71.20

                     Exhibits - Color                                                                                               4.00                 $1.00                 $4.00

                     Exhibit Share                                                                                                  1.00              $295.00               $295.00

                     Witness Read and Sign Services                                                                                 1.00                $35.00                $35.00

                     Litigation Package - Secure File Suite                                                                         1.00                $48.00                $48.00

                     Veritext Virtual Primary Participants                                                                          1.00              $195.00               $195.00

                     Hosting & Delivery of Encrypted Files                                                                          1.00                $28.00                $28.00

         Notes:                                                                                                                                Invoice Total:             $1,550.00
                                                                                                                                                   Payment:             ($1,550.00)
                                                                                                                                                       Credit:                 $0.00
                                                                                                                                                     Interest:                 $0.00
                                                                                                                                               Balance Due:                    $0.00
         TERMS: Payable upon receipt. Accounts 30 days past due will bear a finance charge of 1.5% per month. Accounts unpaid after 90 days agree to pay all collection costs,
         including reasonable attorney's fees. Contact us to correct payment errors. No adjustments will be made after 90 days. For more information on charges related to our services
         please consult http://www.veritext.com/services/all-services/services-information



        Remit to:                                              Pay By ACH (Include invoice numbers):                                           Invoice #: 4738098
        Veritext                                                         A/C Name:Veritext                                                 Invoice Date: 12/30/2020
        P.O. Box 71303                                              Bank Name:BMO Harris Bank
        Chicago IL 60694-1303                                 Bank Addr:311 W. Monroe Chicago, IL 60606                                  Balance Due: $0.00
        Fed. Tax ID: XX-XXXXXXX                                 Account No:4353454 ABA:071000288
                                                                         Swift: HATRUS44
                                                                    Pay by Credit Card: www.veritext.com


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           Case 2:18-cv-00530-MSD-RJK Document 650-3 Filed 05/03/23 Page 30 of 99 PageID# 15643


         Veritext Corporate Services LLC
         Tel. 973-410-4098 Email: Billing-Corp@veritext.com
         Fed. Tax ID: XX-XXXXXXX




         Bill To:                                                                                                                                Invoice #:                4751038
                     Norfolk Southern General
                                                                                                                                              Invoice Date:                1/5/2021
                     Three Commerical Place
                     Norfolk, VA, 23510                                                                                                     Balance Due:                       $0.00


         Case: CSX Transportation, Inc. v. Norfolk Southern Railway Company, et al.
                                                                                                                                               Proceeding Type: Depositions
         (218CV530)
         Job #: 4349030        |   Job Date: 12/15/2020 | Delivery: Normal                                                   Third Party:                     Virginia Proceeding
         Location:                 Miami, FL                                                                               3rd pty/bill to:                     Norfolk Southern
         Billing Atty:                                                                                                  Claim/matter #:                             LD201800202
         Scheduling Atty:          Michael E. Lacy | Troutman Pepper Hamilton Sanders LLP

         Witness: Jermaine Swafford                                                                                           Quantity                   Price              Amount

                     Video - Initial Services                                                                                       1.00              $370.00               $370.00

                     Video - Additional Hours                                                                                       6.00              $165.00               $990.00

                     Video - Media and Cloud Services                                                                               5.00                $46.00              $230.00

                     Video - Electronic Access                                                                                      1.00                $85.00                $85.00

                     Video - Digitizing & Transcript Synchronization                                                                5.00              $110.00               $550.00

         Notes:                                                                                                                                Invoice Total:             $2,225.00
                                                                                                                                                   Payment:             ($2,225.00)
                                                                                                                                                       Credit:                 $0.00
                                                                                                                                                     Interest:                 $0.00
                                                                                                                                               Balance Due:                    $0.00
         TERMS: Payable upon receipt. Accounts 30 days past due will bear a finance charge of 1.5% per month. Accounts unpaid after 90 days agree to pay all collection costs,
         including reasonable attorney's fees. Contact us to correct payment errors. No adjustments will be made after 90 days. For more information on charges related to our services
         please consult http://www.veritext.com/services/all-services/services-information




        Remit to:                                              Pay By ACH (Include invoice numbers):                                           Invoice #: 4751038
        Veritext                                                         A/C Name:Veritext                                                 Invoice Date: 1/5/2021
        P.O. Box 71303                                              Bank Name:BMO Harris Bank
        Chicago IL 60694-1303                                 Bank Addr:311 W. Monroe Chicago, IL 60606                                  Balance Due: $0.00
        Fed. Tax ID: XX-XXXXXXX                                 Account No:4353454 ABA:071000288
                                                                         Swift: HATRUS44
                                                                    Pay by Credit Card: www.veritext.com


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           Case 2:18-cv-00530-MSD-RJK Document 650-3 Filed 05/03/23 Page 31 of 99 PageID# 15644


         Veritext Corporate Services LLC
         Tel. 973-410-4098 Email: Billing-Corp@veritext.com
         Fed. Tax ID: XX-XXXXXXX




         Bill To:                                                                                                      Invoice #:         4756615
                     Norfolk Southern General
                                                                                                                    Invoice Date:         1/8/2021
                     Three Commerical Place
                     Norfolk, VA, 23510                                                                            Balance Due:              $0.00


         Case: CSX Transportation, Inc. v. Norfolk Southern Railway Company, Et Al.
                                                                                                                     Proceeding Type: Depositions
         (218CV530)
         Job #: 4338572         |   Job Date: 12/14/2020 | Delivery: Normal                          Conrail Cost                               N
                                                                                                     Share: Y/N?
         Location:                  Miami, FL
                                                                                                     NS In house                     Joe Carpenter
         Billing Atty:                                                                                  Attorney:
         Scheduling Atty:           Michael E. Lacy | Troutman Pepper Hamilton Sanders LLP     NS Matter/Claim                       LD201800202
                                                                                                             #:
         Witness: Anthony DiDeo                                                                       Quantity               Price         Amount

                     Transcript Services - Original Transcript(s)                                       281.00               $3.95      $1,109.95

                     Attendance - Hourly                                                                   7.50             $40.00         $300.00

                     Exhibits                                                                           101.00               $0.35          $35.35

                     Exhibits - Color                                                                      7.00              $1.00           $7.00

                     Exhibit Share                                                                         1.00            $295.00         $295.00

                     Exhibit Share Addl Presenter                                                          5.00             $95.00         $475.00

                     Realtime Services - Remote                                                         281.00               $2.65         $744.65

                     Realtime Services - Remote Connection                                                 1.00            $125.00         $125.00

                     Rough Draft                                                                        281.00               $1.55         $435.55

                     Litigation Package - Secure File Suite                                                1.00             $35.00          $35.00

                     Veritext Virtual Primary Participants                                                 1.00            $195.00         $195.00

                     Concierge Tech Support                                                                1.00            $150.00         $150.00

                     Hosting & Delivery of Encrypted Files                                                 1.00             $28.00          $28.00

         Notes:


        Remit to:                                        Pay By ACH (Include invoice numbers):                       Invoice #: 4756615
        Veritext                                                   A/C Name:Veritext                              Invoice Date: 1/8/2021
        P.O. Box 71303                                        Bank Name:BMO Harris Bank
        Chicago IL 60694-1303                           Bank Addr:311 W. Monroe Chicago, IL 60606              Balance Due: $0.00
        Fed. Tax ID: XX-XXXXXXX                           Account No:4353454 ABA:071000288
                                                                   Swift: HATRUS44
                                                              Pay by Credit Card: www.veritext.com


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           Case 2:18-cv-00530-MSD-RJK Document 650-3 Filed 05/03/23 Page 32 of 99 PageID# 15645


         Veritext Corporate Services LLC
         Tel. 973-410-4098 Email: Billing-Corp@veritext.com
         Fed. Tax ID: XX-XXXXXXX




                                                                                                                                              Invoice Total:              $3,935.50
                                                                                                                                                   Payment:             ($3,935.50)
                                                                                                                                                       Credit:                 $0.00
                                                                                                                                                     Interest:                 $0.00
                                                                                                                                              Balance Due:                     $0.00
         TERMS: Payable upon receipt. Accounts 30 days past due will bear a finance charge of 1.5% per month. Accounts unpaid after 90 days agree to pay all collection costs,
         including reasonable attorney's fees. Contact us to correct payment errors. No adjustments will be made after 90 days. For more information on charges related to our services
         please consult http://www.veritext.com/services/all-services/services-information




        Remit to:                                              Pay By ACH (Include invoice numbers):                                           Invoice #: 4756615
        Veritext                                                         A/C Name:Veritext                                                Invoice Date: 1/8/2021
        P.O. Box 71303                                              Bank Name:BMO Harris Bank
        Chicago IL 60694-1303                                 Bank Addr:311 W. Monroe Chicago, IL 60606                                  Balance Due: $0.00
        Fed. Tax ID: XX-XXXXXXX                                 Account No:4353454 ABA:071000288
                                                                         Swift: HATRUS44
                                                                    Pay by Credit Card: www.veritext.com


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           Case 2:18-cv-00530-MSD-RJK Document 650-3 Filed 05/03/23 Page 33 of 99 PageID# 15646


         Veritext Corporate Services LLC
         Tel. 973-410-4098 Email: Billing-Corp@veritext.com
         Fed. Tax ID: XX-XXXXXXX




         Bill To:                                                                                                                                Invoice #:                4758116
                     Norfolk Southern General
                                                                                                                                            Invoice Date:                  1/8/2021
                     Three Commerical Place
                     Norfolk, VA, 23510                                                                                                     Balance Due:                       $0.00


         Case: CSX Transportation, Inc. v. Norfolk Southern Railway Company, Et Al.
                                                                                                                                              Proceeding Type: Depositions
         (218CV530)
         Job #: 4338572        |   Job Date: 12/14/2020 | Delivery: Normal                                                 Conrail Cost                                             N
                                                                                                                           Share: Y/N?
         Location:                 Miami, FL
                                                                                                                           NS In house                              Joe Carpenter
         Billing Atty:                                                                                                        Attorney:
         Scheduling Atty:          Michael E. Lacy | Troutman Pepper Hamilton Sanders LLP                             NS Matter/Claim                               LD201800202
                                                                                                                                    #:
         Witness: Anthony DiDeo                                                                                               Quantity                   Price              Amount

                     Video - Initial Services                                                                                       1.00              $295.00               $295.00

                     Video - Additional Hours                                                                                       7.00                $95.00              $665.00

                     Video - Media and Cloud Services                                                                               6.00                $46.00              $276.00

                     Video - Electronic Access                                                                                      1.00                $85.00                $85.00

                     Video - Digitizing & Transcript Synchronization                                                                6.00                $95.00              $570.00

                     Delivery & Handling - Video Media                                                                              1.00                $35.00                $35.00

         Notes:                                                                                                                               Invoice Total:              $1,926.00
                                                                                                                                                   Payment:             ($1,926.00)
                                                                                                                                                       Credit:                 $0.00
                                                                                                                                                     Interest:                 $0.00
                                                                                                                                              Balance Due:                     $0.00
         TERMS: Payable upon receipt. Accounts 30 days past due will bear a finance charge of 1.5% per month. Accounts unpaid after 90 days agree to pay all collection costs,
         including reasonable attorney's fees. Contact us to correct payment errors. No adjustments will be made after 90 days. For more information on charges related to our services
         please consult http://www.veritext.com/services/all-services/services-information




        Remit to:                                              Pay By ACH (Include invoice numbers):                                           Invoice #: 4758116
        Veritext                                                         A/C Name:Veritext                                                 Invoice Date: 1/8/2021
        P.O. Box 71303                                              Bank Name:BMO Harris Bank
        Chicago IL 60694-1303                                 Bank Addr:311 W. Monroe Chicago, IL 60606                                  Balance Due: $0.00
        Fed. Tax ID: XX-XXXXXXX                                 Account No:4353454 ABA:071000288
                                                                         Swift: HATRUS44
                                                                    Pay by Credit Card: www.veritext.com


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           Case 2:18-cv-00530-MSD-RJK Document 650-3 Filed 05/03/23 Page 34 of 99 PageID# 15647


         Veritext Corporate Services LLC
         Tel. 973-410-4098 Email: Billing-Corp@veritext.com
         Fed. Tax ID: XX-XXXXXXX




         Bill To:                                                                                                      Invoice #:         4759104
                     Norfolk Southern General
                                                                                                                    Invoice Date:         1/8/2021
                     Three Commerical Place
                     Norfolk, VA, 23510                                                                            Balance Due:              $0.00


         Case: CSX Transportation, Inc. v. Norfolk Southern Railway Company, Et Al.
                                                                                                                     Proceeding Type: Depositions
         (218CV530)
         Job #: 4358802         |   Job Date: 12/11/2020 | Delivery: Normal                          Conrail Cost                              no
                                                                                                     Share: Y/N?
         Location:                  Miami, FL
                                                                                                     NS In house                     Joe Carpenter
         Billing Atty:                                                                                  Attorney:
         Scheduling Atty:           Tara Reinhart Esq | Skadden Arps Slate Meagher & Flom LLP   NS Matter/Claim                      LD201800340
                                                                                                              #:
         Witness: Maryclare Kenney                                                                    Quantity               Price         Amount

                     Transcript Services - Original Transcript(s)                                       193.00               $3.95         $762.35

                     Attendance - Hourly                                                                   6.00             $40.00         $240.00

                     Exhibits                                                                            43.00               $0.35          $15.05

                     Exhibits - Color                                                                    18.00               $1.00          $18.00

                     Exhibit Share                                                                         1.00            $295.00         $295.00

                     Exhibit Share Addl Presenter                                                          2.00             $95.00         $190.00

                     Realtime Services - Remote                                                         193.00               $2.65         $511.45

                     Realtime Services - Remote Connection                                                 1.00            $125.00         $125.00

                     Rough Draft                                                                        193.00               $1.55         $299.15

                     Witness Read and Sign Services                                                        1.00             $35.00          $35.00

                     Litigation Package - Secure File Suite                                                1.00             $35.00          $35.00

                     Veritext Virtual Primary Participants                                                 1.00            $195.00         $195.00

                     Veritext Virtual Participants                                                         1.00            $195.00         $195.00

                     Concierge Tech Support                                                                1.00            $150.00         $150.00



        Remit to:                                        Pay By ACH (Include invoice numbers):                       Invoice #: 4759104
        Veritext                                                   A/C Name:Veritext                              Invoice Date: 1/8/2021
        P.O. Box 71303                                        Bank Name:BMO Harris Bank
        Chicago IL 60694-1303                           Bank Addr:311 W. Monroe Chicago, IL 60606              Balance Due: $0.00
        Fed. Tax ID: XX-XXXXXXX                           Account No:4353454 ABA:071000288
                                                                   Swift: HATRUS44
                                                              Pay by Credit Card: www.veritext.com


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           Case 2:18-cv-00530-MSD-RJK Document 650-3 Filed 05/03/23 Page 35 of 99 PageID# 15648


         Veritext Corporate Services LLC
         Tel. 973-410-4098 Email: Billing-Corp@veritext.com
         Fed. Tax ID: XX-XXXXXXX




                    Hosting & Delivery of Encrypted Files                                                                           1.00                $28.00                $28.00

         Notes:                                                                                                                               Invoice Total:              $3,094.00
                                                                                                                                                   Payment:             ($3,094.00)
                                                                                                                                                       Credit:                 $0.00
                                                                                                                                                     Interest:                 $0.00
                                                                                                                                              Balance Due:                     $0.00
         TERMS: Payable upon receipt. Accounts 30 days past due will bear a finance charge of 1.5% per month. Accounts unpaid after 90 days agree to pay all collection costs,
         including reasonable attorney's fees. Contact us to correct payment errors. No adjustments will be made after 90 days. For more information on charges related to our services
         please consult http://www.veritext.com/services/all-services/services-information




        Remit to:                                              Pay By ACH (Include invoice numbers):                                           Invoice #: 4759104
        Veritext                                                         A/C Name:Veritext                                                 Invoice Date: 1/8/2021
        P.O. Box 71303                                              Bank Name:BMO Harris Bank
        Chicago IL 60694-1303                                 Bank Addr:311 W. Monroe Chicago, IL 60606                                  Balance Due: $0.00
        Fed. Tax ID: XX-XXXXXXX                                 Account No:4353454 ABA:071000288
                                                                         Swift: HATRUS44
                                                                    Pay by Credit Card: www.veritext.com


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           Case 2:18-cv-00530-MSD-RJK Document 650-3 Filed 05/03/23 Page 36 of 99 PageID# 15649


         Veritext Corporate Services LLC
         Tel. 973-410-4098 Email: Billing-Corp@veritext.com
         Fed. Tax ID: XX-XXXXXXX




         Bill To:                                                                                                      Invoice #:         4759797
                     Norfolk Southern General
                                                                                                                    Invoice Date:       1/12/2021
                     Three Commerical Place
                     Norfolk, VA, 23510                                                                            Balance Due:              $0.00


         Case: CSX Transportation, Inc. v. Norfolk Southern Railway Company, Et Al.
                                                                                                                     Proceeding Type: Depositions
         (218CV530)
         Job #: 4385262         |   Job Date: 1/5/2021 | Delivery: Normal                            Conrail Cost                              no
                                                                                                     Share: Y/N?
         Location:                  Miami, FL
                                                                                                     NS In house                     Joe Carpenter
         Billing Atty:                                                                                  Attorney:
         Scheduling Atty:           Thomas R. Gentry Esq. | Skadden Arps Slate Meagher & Flom   NS Matter/Claim                      LD201800340
                                    LLP                                                                       #:
         Witness: Carl Warren                                                                         Quantity               Price        Amount

                     Transcript Services - Original Transcript(s)                                       277.00               $3.95      $1,094.15

                     Attendance - Hourly                                                                 10.00              $40.00        $400.00

                     Attendance - Add'l Hours                                                              0.00             $60.00           $0.00

                     Exhibits                                                                            84.00               $0.35          $29.40

                     Exhibit Share                                                                         1.00            $295.00        $295.00

                     Exhibit Share Addl Presenter                                                          2.00             $95.00        $190.00

                     Veritext Exhibit Package (ACE)                                                        1.00             $48.50          $48.50

                     Realtime Services                                                                  277.00               $1.55        $429.35

                     Rough Draft                                                                        277.00               $1.55        $429.35

                     Litigation Package - Secure File Suite                                                1.00             $35.00          $35.00

                     Veritext Virtual Primary Participants                                                 1.00            $195.00        $195.00

                     Hosting & Delivery of Encrypted Files                                                 1.00             $28.00          $28.00

         Notes:




        Remit to:                                        Pay By ACH (Include invoice numbers):                       Invoice #: 4759797
        Veritext                                                   A/C Name:Veritext                              Invoice Date: 1/12/2021
        P.O. Box 71303                                        Bank Name:BMO Harris Bank
        Chicago IL 60694-1303                           Bank Addr:311 W. Monroe Chicago, IL 60606              Balance Due: $0.00
        Fed. Tax ID: XX-XXXXXXX                           Account No:4353454 ABA:071000288
                                                                   Swift: HATRUS44
                                                              Pay by Credit Card: www.veritext.com


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           Case 2:18-cv-00530-MSD-RJK Document 650-3 Filed 05/03/23 Page 37 of 99 PageID# 15650


         Veritext Corporate Services LLC
         Tel. 973-410-4098 Email: Billing-Corp@veritext.com
         Fed. Tax ID: XX-XXXXXXX




                                                                                                                                              Invoice Total:              $3,173.75
                                                                                                                                                   Payment:             ($3,173.75)
                                                                                                                                                       Credit:                 $0.00
                                                                                                                                                     Interest:                 $0.00
                                                                                                                                              Balance Due:                     $0.00
         TERMS: Payable upon receipt. Accounts 30 days past due will bear a finance charge of 1.5% per month. Accounts unpaid after 90 days agree to pay all collection costs,
         including reasonable attorney's fees. Contact us to correct payment errors. No adjustments will be made after 90 days. For more information on charges related to our services
         please consult http://www.veritext.com/services/all-services/services-information




        Remit to:                                              Pay By ACH (Include invoice numbers):                                           Invoice #: 4759797
        Veritext                                                         A/C Name:Veritext                                                Invoice Date: 1/12/2021
        P.O. Box 71303                                              Bank Name:BMO Harris Bank
        Chicago IL 60694-1303                                 Bank Addr:311 W. Monroe Chicago, IL 60606                                  Balance Due: $0.00
        Fed. Tax ID: XX-XXXXXXX                                 Account No:4353454 ABA:071000288
                                                                         Swift: HATRUS44
                                                                    Pay by Credit Card: www.veritext.com


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           Case 2:18-cv-00530-MSD-RJK Document 650-3 Filed 05/03/23 Page 38 of 99 PageID# 15651


         Veritext Corporate Services LLC
         Tel. 973-410-4098 Email: Billing-Corp@veritext.com
         Fed. Tax ID: XX-XXXXXXX




         Bill To:                                                                                                                                Invoice #:                4762129
                     Norfolk Southern General
                                                                                                                                            Invoice Date:                 1/11/2021
                     Three Commerical Place
                     Norfolk, VA, 23510                                                                                                     Balance Due:                       $0.00


         Case: CSX Transportation, Inc. v. Norfolk Southern Railway Company, Et Al.
                                                                                                                                              Proceeding Type: Depositions
         (218CV530)
         Job #: 4358802        |   Job Date: 12/11/2020 | Delivery: Normal                                                 Conrail Cost                                            no
                                                                                                                           Share: Y/N?
         Location:                 Miami, FL
                                                                                                                           NS In house                              Joe Carpenter
         Billing Atty:                                                                                                        Attorney:
         Scheduling Atty:          Tara Reinhart Esq | Skadden Arps Slate Meagher & Flom LLP                          NS Matter/Claim                               LD201800340
                                                                                                                                    #:
         Witness: Maryclare Kenney                                                                                            Quantity                   Price              Amount

                     Video - Initial Services                                                                                       1.00              $295.00               $295.00

                     Video - Additional Hours                                                                                       6.00                $95.00              $570.00

                     Video - Media and Cloud Services                                                                               5.00                $46.00              $230.00

                     Video - Electronic Access                                                                                      1.00                $85.00                $85.00

                     Video - Digitizing & Transcript Synchronization                                                                5.00                $95.00              $475.00

         Notes:                                                                                                                               Invoice Total:              $1,655.00
                                                                                                                                                   Payment:             ($1,655.00)
                                                                                                                                                       Credit:                 $0.00
                                                                                                                                                     Interest:                 $0.00
                                                                                                                                              Balance Due:                     $0.00
         TERMS: Payable upon receipt. Accounts 30 days past due will bear a finance charge of 1.5% per month. Accounts unpaid after 90 days agree to pay all collection costs,
         including reasonable attorney's fees. Contact us to correct payment errors. No adjustments will be made after 90 days. For more information on charges related to our services
         please consult http://www.veritext.com/services/all-services/services-information




        Remit to:                                              Pay By ACH (Include invoice numbers):                                           Invoice #: 4762129
        Veritext                                                         A/C Name:Veritext                                                 Invoice Date: 1/11/2021
        P.O. Box 71303                                              Bank Name:BMO Harris Bank
        Chicago IL 60694-1303                                 Bank Addr:311 W. Monroe Chicago, IL 60606                                  Balance Due: $0.00
        Fed. Tax ID: XX-XXXXXXX                                 Account No:4353454 ABA:071000288
                                                                         Swift: HATRUS44
                                                                    Pay by Credit Card: www.veritext.com


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           Case 2:18-cv-00530-MSD-RJK Document 650-3 Filed 05/03/23 Page 39 of 99 PageID# 15652


         Veritext Corporate Services LLC
         Tel. 973-410-4098 Email: Billing-Corp@veritext.com
         Fed. Tax ID: XX-XXXXXXX




         Bill To: ..                                                                                                                             Invoice #:                4259531
                     Norfolk Southern General
                                                                                                                                            Invoice Date:                 3/19/2020
                     Three Commerical Place
                     Norfolk, VA, 23510                                                                                                     Balance Due:                       $0.00


         Case: CSX transportation, Inc. v. Norfolk Southern Railway Company, et al.
                                                                                                                                              Proceeding Type: Depositions
         (2:18cv530)
         Job #: 4013061         |    Job Date: 3/11/2020 | Delivery: Expedited                                             Conrail Cost                                             N
                                                                                                                           Share: Y/N?
         Location:                  Atlanta, GA
                                                                                                                           NS In house                              Joe Carpenter
         Billing Atty:              ..                                                                                        Attorney:
         Scheduling Atty:           Michael E. Lacy | Troutman Pepper Hamilton Sanders LLP                            NS Matter/Claim                               LD201800202
                                                                                                                                    #:
         Witness: Steven Armburst                                                                                             Quantity                   Price              Amount

                     Transcript Services - Original Transcript(s)                                                                373.00                  $3.95            $1,473.35

                     Transcript Services - Priority Request                                                                      373.00                  $2.77            $1,033.21

                     Transcript - Supplemental Surcharges*                                                                       373.00                  $0.00                 $0.00

                     Attendance - Half Day                                                                                          3.00                $50.00              $150.00

                     Exhibits                                                                                                    290.00                  $0.35              $101.50

                     Exhibits - Color                                                                                               8.00                 $2.25                $18.00

                     Litigation Package - Secure File Suite                                                                         1.00                $35.00                $35.00

                     Delivery & Handling                                                                                            1.00                $25.97                $25.97

                     Hosting & Delivery of Encrypted Files                                                                          1.00                $28.00                $28.00

         Notes:                                                                                                                               Invoice Total:              $2,865.03
                                                                                                                                                   Payment:             ($2,865.03)
                                                                                                                                                       Credit:                 $0.00
                                                                                                                                                     Interest:                 $0.00
                                                                                                                                              Balance Due:                     $0.00
         TERMS: Payable upon receipt. Accounts 30 days past due will bear a finance charge of 1.5% per month. Accounts unpaid after 90 days agree to pay all collection costs,
         including reasonable attorney's fees. Contact us to correct payment errors. No adjustments will be made after 90 days. For more information on charges related to our services
         please consult http://www.veritext.com/services/all-services/services-information



        Remit to:                                              Pay By ACH (Include invoice numbers):                                           Invoice #: 4259531
        Veritext                                                         A/C Name:Veritext                                                 Invoice Date: 3/19/2020
        P.O. Box 71303                                              Bank Name:BMO Harris Bank
        Chicago IL 60694-1303                                 Bank Addr:311 W. Monroe Chicago, IL 60606                                  Balance Due: $0.00
        Fed. Tax ID: XX-XXXXXXX                                 Account No:4353454 ABA:071000288
                                                                         Swift: HATRUS44
                                                                    Pay by Credit Card: www.veritext.com


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           Case 2:18-cv-00530-MSD-RJK Document 650-3 Filed 05/03/23 Page 40 of 99 PageID# 15653


         Veritext Corporate Services LLC
         Tel. 973-410-4098 Email: Billing-Corp@veritext.com
         Fed. Tax ID: XX-XXXXXXX




         Bill To: ..                                                                                                                             Invoice #:                4259896
                     Norfolk Southern General
                                                                                                                                            Invoice Date:                 3/19/2020
                     Three Commerical Place
                     Norfolk, VA, 23510                                                                                                     Balance Due:                       $0.00


         Case: CSX transportation, Inc. v. Norfolk Southern Railway Company, et al.
                                                                                                                                              Proceeding Type: Depositions
         (2:18cv530)
         Job #: 4013055         |    Job Date: 3/13/2020 | Delivery: Daily                                                 Conrail Cost                                             N
                                                                                                                           Share: Y/N?
         Location:                  Atlanta, GA
                                                                                                                           NS In house                              Joe Carpenter
         Billing Atty:              ..                                                                                        Attorney:
         Scheduling Atty:           Michael E. Lacy | Troutman Pepper Hamilton Sanders LLP                            NS Matter/Claim                               LD201800202
                                                                                                                                    #:
         Witness: James Allan                                                                                                 Quantity                   Price              Amount

                     Transcript Services - Original Transcript(s)                                                                290.00                  $3.95            $1,145.50

                     Transcript - Fee for Daily                                                                                  290.00                  $3.56            $1,032.40

                     Attendance - Half Day                                                                                          2.00                $50.00              $100.00

                     Exhibits                                                                                                    101.00                  $0.35                $35.35

                     Exhibits - Color                                                                                               9.00                 $2.25                $20.25

                     Litigation Package - Secure File Suite                                                                         1.00                $35.00                $35.00

                     Delivery & Handling                                                                                            1.00                $19.50                $19.50

                     Hosting & Delivery of Encrypted Files                                                                          1.00                $28.00                $28.00

         Notes:                                                                                                                               Invoice Total:              $2,416.00
                                                                                                                                                   Payment:             ($2,416.00)
                                                                                                                                                       Credit:                 $0.00
                                                                                                                                                     Interest:                 $0.00
                                                                                                                                              Balance Due:                     $0.00
         TERMS: Payable upon receipt. Accounts 30 days past due will bear a finance charge of 1.5% per month. Accounts unpaid after 90 days agree to pay all collection costs,
         including reasonable attorney's fees. Contact us to correct payment errors. No adjustments will be made after 90 days. For more information on charges related to our services
         please consult http://www.veritext.com/services/all-services/services-information




        Remit to:                                              Pay By ACH (Include invoice numbers):                                           Invoice #: 4259896
        Veritext                                                         A/C Name:Veritext                                                 Invoice Date: 3/19/2020
        P.O. Box 71303                                              Bank Name:BMO Harris Bank
        Chicago IL 60694-1303                                 Bank Addr:311 W. Monroe Chicago, IL 60606                                  Balance Due: $0.00
        Fed. Tax ID: XX-XXXXXXX                                 Account No:4353454 ABA:071000288
                                                                         Swift: HATRUS44
                                                                    Pay by Credit Card: www.veritext.com


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           Case 2:18-cv-00530-MSD-RJK Document 650-3 Filed 05/03/23 Page 41 of 99 PageID# 15654


         Veritext Corporate Services LLC
         Tel. 973-410-4098 Email: Billing-Corp@veritext.com
         Fed. Tax ID: XX-XXXXXXX




         Bill To: ..                                                                                                                             Invoice #:                4262197
                     Norfolk Southern General
                                                                                                                                            Invoice Date:                 3/23/2020
                     Three Commerical Place
                     Norfolk, VA, 23510                                                                                                     Balance Due:                       $0.00


         Case: CSX transportation, Inc. v. Norfolk Southern Railway Company, et al.
                                                                                                                                              Proceeding Type: Depositions
         (2:18cv530)
         Job #: 4013060        |    Job Date: 3/12/2020 | Delivery: Normal                                                 Conrail Cost                                             N
                                                                                                                           Share: Y/N?
         Location:                 Atlanta, GA
                                                                                                                           NS In house                              Joe Carpenter
         Billing Atty:             ..                                                                                         Attorney:
         Scheduling Atty:          Michael E. Lacy | Troutman Pepper Hamilton Sanders LLP                             NS Matter/Claim                               LD201800202
                                                                                                                                    #:
         Witness: John Booth                                                                                                  Quantity                   Price              Amount

                     Video - Initial Services                                                                                       1.00              $295.00               $295.00

                     Video - Additional Hours                                                                                       7.00                $95.00              $665.00

                     Video - Media and Cloud Services                                                                               6.00                $46.00              $276.00

                     Video - Digitizing & Transcript Synchronization                                                                6.00                $95.00              $570.00

                     Hosting & Delivery of Encrypted Files                                                                          1.00                $28.00                $28.00

         Notes:                                                                                                                               Invoice Total:              $1,834.00
                                                                                                                                                   Payment:             ($1,834.00)
                                                                                                                                                       Credit:                 $0.00
                                                                                                                                                     Interest:                 $0.00
                                                                                                                                              Balance Due:                     $0.00
         TERMS: Payable upon receipt. Accounts 30 days past due will bear a finance charge of 1.5% per month. Accounts unpaid after 90 days agree to pay all collection costs,
         including reasonable attorney's fees. Contact us to correct payment errors. No adjustments will be made after 90 days. For more information on charges related to our services
         please consult http://www.veritext.com/services/all-services/services-information




        Remit to:                                              Pay By ACH (Include invoice numbers):                                           Invoice #: 4262197
        Veritext                                                         A/C Name:Veritext                                                 Invoice Date: 3/23/2020
        P.O. Box 71303                                              Bank Name:BMO Harris Bank
        Chicago IL 60694-1303                                 Bank Addr:311 W. Monroe Chicago, IL 60606                                  Balance Due: $0.00
        Fed. Tax ID: XX-XXXXXXX                                 Account No:4353454 ABA:071000288
                                                                         Swift: HATRUS44
                                                                    Pay by Credit Card: www.veritext.com


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           Case 2:18-cv-00530-MSD-RJK Document 650-3 Filed 05/03/23 Page 42 of 99 PageID# 15655


         Veritext Corporate Services LLC
         Tel. 973-410-4098 Email: Billing-Corp@veritext.com
         Fed. Tax ID: XX-XXXXXXX




         Bill To:                                                                                                                                Invoice #:                4786881
                     Norfolk Southern General
                                                                                                                                            Invoice Date:                 1/25/2021
                     Three Commerical Place
                     Norfolk, VA, 23510                                                                                                     Balance Due:                       $0.00


         Case: CSX Transportation, Inc. v. Norfolk Southern Railway Company, Et Al.
                                                                                                                                              Proceeding Type: Depositions
         (218CV530)
         Job #: 4380453         |   Job Date: 1/20/2021 | Delivery: Normal                                                 Conrail Cost                                             N
                                                                                                                           Share: Y/N?
         Location:                  Miami, FL
                                                                                                                           NS In house                              Joe Carpenter
         Billing Atty:                                                                                                        Attorney:
         Scheduling Atty:           Michael E. Lacy | Troutman Pepper Hamilton Sanders LLP                            NS Matter/Claim                               LD201800202
                                                                                                                                    #:
         Witness: Anthony MacDonald                                                                                           Quantity                   Price              Amount

                     Transcript Services - Original Transcript(s)                                                                281.00                  $3.95            $1,109.95

                     Attendance - Hourly                                                                                            8.00                $40.00              $320.00

                     Exhibits                                                                                                    121.00                  $0.35                $42.35

                     Exhibit Share                                                                                                  1.00              $295.00               $295.00

                     Veritext Exhibit Package (ACE)                                                                                 1.00                $48.50                $48.50

                     Realtime Services - Remote                                                                                  281.00                  $2.65              $744.65

                     Litigation Package - Secure File Suite                                                                         1.00                $35.00                $35.00

                     Veritext Virtual Primary Participants                                                                          1.00              $195.00               $195.00

                     Hosting & Delivery of Encrypted Files                                                                          1.00                $28.00                $28.00

         Notes:                                                                                                                               Invoice Total:              $2,818.45
                                                                                                                                                   Payment:             ($2,818.45)
                                                                                                                                                       Credit:                 $0.00
                                                                                                                                                     Interest:                 $0.00
                                                                                                                                              Balance Due:                     $0.00
         TERMS: Payable upon receipt. Accounts 30 days past due will bear a finance charge of 1.5% per month. Accounts unpaid after 90 days agree to pay all collection costs,
         including reasonable attorney's fees. Contact us to correct payment errors. No adjustments will be made after 90 days. For more information on charges related to our services
         please consult http://www.veritext.com/services/all-services/services-information



        Remit to:                                              Pay By ACH (Include invoice numbers):                                           Invoice #: 4786881
        Veritext                                                         A/C Name:Veritext                                                 Invoice Date: 1/25/2021
        P.O. Box 71303                                              Bank Name:BMO Harris Bank
        Chicago IL 60694-1303                                 Bank Addr:311 W. Monroe Chicago, IL 60606                                  Balance Due: $0.00
        Fed. Tax ID: XX-XXXXXXX                                 Account No:4353454 ABA:071000288
                                                                         Swift: HATRUS44
                                                                    Pay by Credit Card: www.veritext.com


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           Case 2:18-cv-00530-MSD-RJK Document 650-3 Filed 05/03/23 Page 43 of 99 PageID# 15656


         Veritext Corporate Services LLC
         Tel. 973-410-4098 Email: Billing-Corp@veritext.com
         Fed. Tax ID: XX-XXXXXXX




         Bill To:                                                                                                      Invoice #:         4787887
                     Norfolk Southern General
                                                                                                                    Invoice Date:       1/26/2021
                     Three Commerical Place
                     Norfolk, VA, 23510                                                                            Balance Due:              $0.00


         Case: CSX Transportation, Inc. v. Norfolk Southern Railway Company, Et Al.
                                                                                                                     Proceeding Type: Depositions
         (218CV530)
         Job #: 4395739         |   Job Date: 1/13/2021 | Delivery: Normal                           Conrail Cost                               N
                                                                                                     Share: Y/N?
         Location:                  Richmond, VA
                                                                                                     NS In house                     Joe Carpenter
         Billing Atty:                                                                                  Attorney:
         Scheduling Atty:           Alan D. Wingfield | Troutman Pepper Hamilton Sanders LLP   NS Matter/Claim                       LD201800202
                                                                                                             #:
         Witness: Robert Girardot                                                                     Quantity               Price        Amount

                     Transcript Services - Original Transcript(s)                                       303.00               $3.85      $1,166.55

                     Attendance - Half Day                                                                 3.00             $75.00        $225.00

                     Exhibits                                                                           195.00               $0.35          $68.25

                     Exhibit Share                                                                         1.00            $295.00        $295.00

                     Veritext Exhibit Package (ACE)                                                        1.00             $48.50          $48.50

                     Realtime Services                                                                  303.00               $1.55        $469.65

                     Rough Draft                                                                        303.00               $1.55        $469.65

                     Witness Read and Sign Services                                                        1.00             $35.00          $35.00

                     Litigation Package - Secure File Suite                                                1.00             $35.00          $35.00

                     Veritext Virtual Primary Participants                                                 1.00            $195.00        $195.00

                     Hosting & Delivery of Encrypted Files                                                 1.00             $28.00          $28.00

         Notes:




        Remit to:                                        Pay By ACH (Include invoice numbers):                       Invoice #: 4787887
        Veritext                                                   A/C Name:Veritext                              Invoice Date: 1/26/2021
        P.O. Box 71303                                        Bank Name:BMO Harris Bank
        Chicago IL 60694-1303                           Bank Addr:311 W. Monroe Chicago, IL 60606              Balance Due: $0.00
        Fed. Tax ID: XX-XXXXXXX                           Account No:4353454 ABA:071000288
                                                                   Swift: HATRUS44
                                                              Pay by Credit Card: www.veritext.com


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         Veritext Corporate Services LLC
         Tel. 973-410-4098 Email: Billing-Corp@veritext.com
         Fed. Tax ID: XX-XXXXXXX




                                                                                                                                              Invoice Total:              $3,035.60
                                                                                                                                                   Payment:             ($3,035.60)
                                                                                                                                                       Credit:                 $0.00
                                                                                                                                                     Interest:                 $0.00
                                                                                                                                              Balance Due:                     $0.00
         TERMS: Payable upon receipt. Accounts 30 days past due will bear a finance charge of 1.5% per month. Accounts unpaid after 90 days agree to pay all collection costs,
         including reasonable attorney's fees. Contact us to correct payment errors. No adjustments will be made after 90 days. For more information on charges related to our services
         please consult http://www.veritext.com/services/all-services/services-information




        Remit to:                                              Pay By ACH (Include invoice numbers):                                           Invoice #: 4787887
        Veritext                                                         A/C Name:Veritext                                                Invoice Date: 1/26/2021
        P.O. Box 71303                                              Bank Name:BMO Harris Bank
        Chicago IL 60694-1303                                 Bank Addr:311 W. Monroe Chicago, IL 60606                                  Balance Due: $0.00
        Fed. Tax ID: XX-XXXXXXX                                 Account No:4353454 ABA:071000288
                                                                         Swift: HATRUS44
                                                                    Pay by Credit Card: www.veritext.com


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           Case 2:18-cv-00530-MSD-RJK Document 650-3 Filed 05/03/23 Page 45 of 99 PageID# 15658


         Veritext Corporate Services LLC
         Tel. 973-410-4098 Email: Billing-Corp@veritext.com
         Fed. Tax ID: XX-XXXXXXX




         Bill To:                                                                                                                                Invoice #:                4789553
                     Norfolk Southern General
                                                                                                                                            Invoice Date:                 1/26/2021
                     Three Commerical Place
                     Norfolk, VA, 23510                                                                                                     Balance Due:                       $0.00


         Case: CSX Transportation, Inc. v. Norfolk Southern Railway Company, Et Al.
                                                                                                                                              Proceeding Type: Depositions
         (218CV530)
         Job #: 4385284        |   Job Date: 1/12/2021 | Delivery: Normal                                                  Conrail Cost                                            no
                                                                                                                           Share: Y/N?
         Location:                 Miami, FL
                                                                                                                           NS In house                              Joe Carpenter
         Billing Atty:                                                                                                        Attorney:
         Scheduling Atty:          Thomas R. Gentry Esq. | Skadden Arps Slate Meagher & Flom                          NS Matter/Claim                               LD201800340
                                   LLP                                                                                              #:
         Witness: Robert Girardot                                                                                             Quantity                   Price              Amount

                     Video - Initial Services                                                                                       1.00              $295.00               $295.00

                     Video - Additional Hours                                                                                       7.00                $95.00              $665.00

                     Video - Extended Hours                                                                                         2.00              $142.50               $285.00

                     Video - Media and Cloud Services                                                                               8.00                $46.00              $368.00

                     Video - Electronic Access                                                                                      1.00                $85.00                $85.00

                     Video - Digitizing & Transcript Synchronization                                                                8.00                $95.00              $760.00

         Notes:                                                                                                                               Invoice Total:              $2,458.00
                                                                                                                                                   Payment:             ($2,458.00)
                                                                                                                                                       Credit:                 $0.00
                                                                                                                                                     Interest:                 $0.00
                                                                                                                                              Balance Due:                     $0.00
         TERMS: Payable upon receipt. Accounts 30 days past due will bear a finance charge of 1.5% per month. Accounts unpaid after 90 days agree to pay all collection costs,
         including reasonable attorney's fees. Contact us to correct payment errors. No adjustments will be made after 90 days. For more information on charges related to our services
         please consult http://www.veritext.com/services/all-services/services-information




        Remit to:                                              Pay By ACH (Include invoice numbers):                                           Invoice #: 4789553
        Veritext                                                         A/C Name:Veritext                                                 Invoice Date: 1/26/2021
        P.O. Box 71303                                              Bank Name:BMO Harris Bank
        Chicago IL 60694-1303                                 Bank Addr:311 W. Monroe Chicago, IL 60606                                  Balance Due: $0.00
        Fed. Tax ID: XX-XXXXXXX                                 Account No:4353454 ABA:071000288
                                                                         Swift: HATRUS44
                                                                    Pay by Credit Card: www.veritext.com


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           Case 2:18-cv-00530-MSD-RJK Document 650-3 Filed 05/03/23 Page 46 of 99 PageID# 15659


         Veritext Corporate Services LLC
         Tel. 973-410-4098 Email: Billing-Corp@veritext.com
         Fed. Tax ID: XX-XXXXXXX




         Bill To:                                                                                                      Invoice #:         4944621
                     Norfolk Southern General
                                                                                                                    Invoice Date:       4/12/2021
                     Three Commerical Place
                     Norfolk, VA, 23510                                                                            Balance Due:              $0.00


         Case: CSX Transportation, Inc. v. Norfolk Southern Railway Company, Et Al.
                                                                                                                     Proceeding Type: Depositions
         (218CV530)
         Job #: 4511076         |   Job Date: 3/25/2021 | Delivery: Normal                           Conrail Cost                               N
                                                                                                     Share: Y/N?
         Location:                  Miami, FL
                                                                                                     NS In house                     Joe Carpenter
         Billing Atty:                                                                                  Attorney:
         Scheduling Atty:           Michael E. Lacy | Troutman Pepper Hamilton Sanders LLP     NS Matter/Claim                       LD201800202
                                                                                                             #:
         Witness: Steven Armbrust                                                                     Quantity               Price        Amount

                     Transcript Services - Original Transcript(s)                                        98.00               $3.95        $387.10

                     Attendance - Hourly                                                                   5.00             $40.00        $200.00

                     Exhibits                                                                            48.00               $0.35          $16.80

                     Rough Draft                                                                         98.00               $1.55        $151.90

                     Witness Read and Sign Services                                                        1.00             $35.00          $35.00

                     Litigation Package - Secure File Suite                                                1.00             $35.00          $35.00

         Witness: Michael Burns                                                                       Quantity               Price        Amount

                     Transcript Services - Original Transcript(s)                                        80.00               $3.95        $316.00

                     Exhibits                                                                            24.00               $0.35           $8.40

                     Rough Draft                                                                         80.00               $1.55        $124.00

                     Witness Read and Sign Services                                                        1.00             $35.00          $35.00

                     Litigation Package - Secure File Suite                                                1.00             $35.00          $35.00

                                                                                                      Quantity               Price        Amount

                     Exhibit Share                                                                         1.00            $295.00        $295.00



        Remit to:                                        Pay By ACH (Include invoice numbers):                       Invoice #: 4944621
        Veritext                                                   A/C Name:Veritext                              Invoice Date: 4/12/2021
        P.O. Box 71303                                        Bank Name:BMO Harris Bank
        Chicago IL 60694-1303                           Bank Addr:311 W. Monroe Chicago, IL 60606              Balance Due: $0.00
        Fed. Tax ID: XX-XXXXXXX                           Account No:4353454 ABA:071000288
                                                                   Swift: HATRUS44
                                                              Pay by Credit Card: www.veritext.com


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           Case 2:18-cv-00530-MSD-RJK Document 650-3 Filed 05/03/23 Page 47 of 99 PageID# 15660


         Veritext Corporate Services LLC
         Tel. 973-410-4098 Email: Billing-Corp@veritext.com
         Fed. Tax ID: XX-XXXXXXX




                    Veritext Virtual Primary Participants                                                                           1.00              $195.00               $195.00

                    Hosting & Delivery of Encrypted Files                                                                           1.00                $28.00                $28.00

         Notes:                                                                                                                               Invoice Total:              $1,862.20
                                                                                                                                                   Payment:             ($1,862.20)
                                                                                                                                                       Credit:                 $0.00
                                                                                                                                                     Interest:                 $0.00
                                                                                                                                              Balance Due:                     $0.00
         TERMS: Payable upon receipt. Accounts 30 days past due will bear a finance charge of 1.5% per month. Accounts unpaid after 90 days agree to pay all collection costs,
         including reasonable attorney's fees. Contact us to correct payment errors. No adjustments will be made after 90 days. For more information on charges related to our services
         please consult http://www.veritext.com/services/all-services/services-information




        Remit to:                                              Pay By ACH (Include invoice numbers):                                           Invoice #: 4944621
        Veritext                                                         A/C Name:Veritext                                                 Invoice Date: 4/12/2021
        P.O. Box 71303                                              Bank Name:BMO Harris Bank
        Chicago IL 60694-1303                                 Bank Addr:311 W. Monroe Chicago, IL 60606                                  Balance Due: $0.00
        Fed. Tax ID: XX-XXXXXXX                                 Account No:4353454 ABA:071000288
                                                                         Swift: HATRUS44
                                                                    Pay by Credit Card: www.veritext.com


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           Case 2:18-cv-00530-MSD-RJK Document 650-3 Filed 05/03/23 Page 48 of 99 PageID# 15661


         Veritext Corporate Services LLC
         Tel. 973-410-4098 Email: Billing-Corp@veritext.com
         Fed. Tax ID: XX-XXXXXXX




         Bill To:                                                                                                      Invoice #:         4946236
                     Norfolk Southern General
                                                                                                                    Invoice Date:       4/13/2021
                     Three Commerical Place
                     Norfolk, VA, 23510                                                                            Balance Due:              $0.00


         Case: CSX Transportation, Inc. v. Norfolk Southern Railway Company, Et Al.
                                                                                                                     Proceeding Type: Depositions
         (218CV530)
         Job #: 4510793         |   Job Date: 3/26/2021 | Delivery: Immediate                        Conrail Cost                              no
                                                                                                     Share: Y/N?
         Location:                  Miami, FL
                                                                                                     NS In house                     Joe Carpenter
         Billing Atty:                                                                                  Attorney:
         Scheduling Atty:           Tara Reinhart Esq | Skadden Arps Slate Meagher & Flom LLP   NS Matter/Claim                      LD201800340
                                                                                                              #:
         Witness: Maryclare Kenney                                                                    Quantity               Price        Amount

                     Transcript Services - Original Transcript(s)                                        83.00               $3.95        $327.85

                     Transcript - Fee for Daily                                                          83.00               $3.56        $295.48

                     Attendance - Hourly                                                                   3.00             $40.00        $120.00

                     Exhibits                                                                            37.00               $0.35          $12.95

                     Exhibits - Color                                                                    48.00               $1.00          $48.00

                     Exhibit Share                                                                         1.00            $295.00        $295.00

                     Exhibit Share Addl Presenter                                                          1.00             $95.00          $95.00

                     Realtime Services - Remote                                                          83.00               $2.65        $219.95

                     Realtime Services - Remote Connection                                                 1.00            $125.00        $125.00

                     Rough Draft                                                                         83.00               $1.55        $128.65

                     Rough Draft                                                                         83.00               $1.55        $128.65

                     Rough Draft                                                                         83.00               $1.55        $128.65

                     Witness Read and Sign Services                                                        1.00             $35.00          $35.00

                     Litigation Package - Secure File Suite                                                1.00             $35.00          $35.00



        Remit to:                                        Pay By ACH (Include invoice numbers):                       Invoice #: 4946236
        Veritext                                                   A/C Name:Veritext                              Invoice Date: 4/13/2021
        P.O. Box 71303                                        Bank Name:BMO Harris Bank
        Chicago IL 60694-1303                           Bank Addr:311 W. Monroe Chicago, IL 60606              Balance Due: $0.00
        Fed. Tax ID: XX-XXXXXXX                           Account No:4353454 ABA:071000288
                                                                   Swift: HATRUS44
                                                              Pay by Credit Card: www.veritext.com


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           Case 2:18-cv-00530-MSD-RJK Document 650-3 Filed 05/03/23 Page 49 of 99 PageID# 15662


         Veritext Corporate Services LLC
         Tel. 973-410-4098 Email: Billing-Corp@veritext.com
         Fed. Tax ID: XX-XXXXXXX




                    Veritext Virtual Primary Participants                                                                           1.00              $195.00               $195.00

                    Concierge Tech Support                                                                                          2.50              $150.00               $375.00

                    Hosting & Delivery of Encrypted Files                                                                           1.00                $28.00                $28.00

         Notes:                                                                                                                               Invoice Total:              $2,593.18
                                                                                                                                                   Payment:             ($2,593.18)
                                                                                                                                                       Credit:                 $0.00
                                                                                                                                                     Interest:                 $0.00
                                                                                                                                              Balance Due:                     $0.00
         TERMS: Payable upon receipt. Accounts 30 days past due will bear a finance charge of 1.5% per month. Accounts unpaid after 90 days agree to pay all collection costs,
         including reasonable attorney's fees. Contact us to correct payment errors. No adjustments will be made after 90 days. For more information on charges related to our services
         please consult http://www.veritext.com/services/all-services/services-information




        Remit to:                                              Pay By ACH (Include invoice numbers):                                           Invoice #: 4946236
        Veritext                                                         A/C Name:Veritext                                                 Invoice Date: 4/13/2021
        P.O. Box 71303                                              Bank Name:BMO Harris Bank
        Chicago IL 60694-1303                                 Bank Addr:311 W. Monroe Chicago, IL 60606                                  Balance Due: $0.00
        Fed. Tax ID: XX-XXXXXXX                                 Account No:4353454 ABA:071000288
                                                                         Swift: HATRUS44
                                                                    Pay by Credit Card: www.veritext.com


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           Case 2:18-cv-00530-MSD-RJK Document 650-3 Filed 05/03/23 Page 50 of 99 PageID# 15663


         Veritext Corporate Services LLC
         Tel. 973-410-4098 Email: Billing-Corp@veritext.com
         Fed. Tax ID: XX-XXXXXXX




         Bill To:                                                                                                                                Invoice #:                4964583
                     Norfolk Southern General
                                                                                                                                            Invoice Date:                 4/22/2021
                     Three Commerical Place
                     Norfolk, VA, 23510                                                                                                     Balance Due:                       $0.00


         Case: CSX Transportation, Inc. v. Norfolk Southern Railway Company, Et Al.
                                                                                                                                              Proceeding Type: Depositions
         (218CV530)
         Job #: 4511076        |   Job Date: 3/25/2021 | Delivery: Normal                                                  Conrail Cost                                             N
                                                                                                                           Share: Y/N?
         Location:                 Miami, FL
                                                                                                                           NS In house                              Joe Carpenter
         Billing Atty:                                                                                                        Attorney:
         Scheduling Atty:          Michael E. Lacy | Troutman Pepper Hamilton Sanders LLP                             NS Matter/Claim                               LD201800202
                                                                                                                                    #:
                                                                                                                              Quantity                   Price              Amount

                     Video - Initial Services                                                                                       1.00              $295.00               $295.00

                     Video - Additional Hours                                                                                       4.00                $95.00              $380.00

                     Video - Electronic Access                                                                                      1.00                $85.00                $85.00

         Witness: Steven Armbrust                                                                                             Quantity                   Price              Amount

                     Video - Media and Cloud Services                                                                               3.00                $46.00              $138.00

                     Video - Digitizing & Transcript Synchronization                                                                3.00                $95.00              $285.00

         Witness: Michael Burns                                                                                               Quantity                   Price              Amount

                     Video - Media and Cloud Services                                                                               2.00                $46.00                $92.00

                     Video - Digitizing & Transcript Synchronization                                                                2.00                $95.00              $190.00

         Notes:                                                                                                                               Invoice Total:              $1,465.00
                                                                                                                                                   Payment:             ($1,465.00)
                                                                                                                                                       Credit:                 $0.00
                                                                                                                                                     Interest:                 $0.00
                                                                                                                                              Balance Due:                     $0.00
         TERMS: Payable upon receipt. Accounts 30 days past due will bear a finance charge of 1.5% per month. Accounts unpaid after 90 days agree to pay all collection costs,
         including reasonable attorney's fees. Contact us to correct payment errors. No adjustments will be made after 90 days. For more information on charges related to our services
         please consult http://www.veritext.com/services/all-services/services-information



        Remit to:                                              Pay By ACH (Include invoice numbers):                                           Invoice #: 4964583
        Veritext                                                         A/C Name:Veritext                                                 Invoice Date: 4/22/2021
        P.O. Box 71303                                              Bank Name:BMO Harris Bank
        Chicago IL 60694-1303                                 Bank Addr:311 W. Monroe Chicago, IL 60606                                  Balance Due: $0.00
        Fed. Tax ID: XX-XXXXXXX                                 Account No:4353454 ABA:071000288
                                                                         Swift: HATRUS44
                                                                    Pay by Credit Card: www.veritext.com


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           Case 2:18-cv-00530-MSD-RJK Document 650-3 Filed 05/03/23 Page 51 of 99 PageID# 15664


         Veritext Corporate Services LLC
         Tel. 973-410-4098 Email: Billing-Corp@veritext.com
         Fed. Tax ID: XX-XXXXXXX




         Bill To:                                                                                                                                Invoice #:                4964755
                     Norfolk Southern General
                                                                                                                                            Invoice Date:                 4/22/2021
                     Three Commerical Place
                     Norfolk, VA, 23510                                                                                                     Balance Due:                       $0.00


         Case: CSX Transportation, Inc. v. Norfolk Southern Railway Company, Et Al.
                                                                                                                                              Proceeding Type: Depositions
         (218CV530)
         Job #: 4510793        |   Job Date: 3/26/2021 | Delivery: Immediate                                               Conrail Cost                                            no
                                                                                                                           Share: Y/N?
         Location:                 Miami, FL
                                                                                                                           NS In house                              Joe Carpenter
         Billing Atty:                                                                                                        Attorney:
         Scheduling Atty:          Tara Reinhart Esq | Skadden Arps Slate Meagher & Flom LLP                          NS Matter/Claim                               LD201800340
                                                                                                                                    #:
         Witness: Maryclare Kenney                                                                                            Quantity                   Price              Amount

                     Video - Initial Services                                                                                       1.00              $295.00               $295.00

                     Video - Additional Hours                                                                                       2.00                $95.00              $190.00

                     Video - Media and Cloud Services                                                                               3.00                $46.00              $138.00

                     Video - Electronic Access                                                                                      1.00                $85.00                $85.00

                     Video - Digitizing & Transcript Synchronization                                                                3.00                $95.00              $285.00

                     Video - Transcript Synchronization - Expedited Production                                                      3.00              $118.75               $356.25

         Notes:                                                                                                                               Invoice Total:              $1,349.25
                                                                                                                                                   Payment:             ($1,349.25)
                                                                                                                                                       Credit:                 $0.00
                                                                                                                                                     Interest:                 $0.00
                                                                                                                                              Balance Due:                     $0.00
         TERMS: Payable upon receipt. Accounts 30 days past due will bear a finance charge of 1.5% per month. Accounts unpaid after 90 days agree to pay all collection costs,
         including reasonable attorney's fees. Contact us to correct payment errors. No adjustments will be made after 90 days. For more information on charges related to our services
         please consult http://www.veritext.com/services/all-services/services-information




        Remit to:                                              Pay By ACH (Include invoice numbers):                                           Invoice #: 4964755
        Veritext                                                         A/C Name:Veritext                                                 Invoice Date: 4/22/2021
        P.O. Box 71303                                              Bank Name:BMO Harris Bank
        Chicago IL 60694-1303                                 Bank Addr:311 W. Monroe Chicago, IL 60606                                  Balance Due: $0.00
        Fed. Tax ID: XX-XXXXXXX                                 Account No:4353454 ABA:071000288
                                                                         Swift: HATRUS44
                                                                    Pay by Credit Card: www.veritext.com


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           Case 2:18-cv-00530-MSD-RJK Document 650-3 Filed 05/03/23 Page 52 of 99 PageID# 15665


         Veritext Corporate Services LLC
         Tel. 973-410-4098 Email: Billing-Corp@veritext.com
         Fed. Tax ID: XX-XXXXXXX




         Bill To:                                                                                                                                Invoice #:                4968310
                     Norfolk Southern General
                                                                                                                                            Invoice Date:                 4/23/2021
                     Three Commerical Place
                     Norfolk, VA, 23510                                                                                                     Balance Due:                       $0.00


         Case: CSX Transportation, Inc. v. Norfolk Southern Railway Company, Et Al.
                                                                                                                                              Proceeding Type: Depositions
         (218CV530)
         Job #: 4488466        |   Job Date: 3/22/2021 | Delivery: Normal                                                  Conrail Cost                                            no
                                                                                                                           Share: Y/N?
         Location:                 Miami, FL
                                                                                                                           NS In house                              Joe Carpenter
         Billing Atty:                                                                                                        Attorney:
         Scheduling Atty:          Thomas R. Gentry Esq. | Skadden Arps Slate Meagher & Flom                          NS Matter/Claim                               LD201800340
                                   LLP                                                                                              #:
         Witness: Howard P. Marvel                                                                                            Quantity                   Price              Amount

                     Video - Initial Services                                                                                       1.00              $295.00               $295.00

                     Video - Additional Hours                                                                                       7.00                $95.00              $665.00

                     Video - Extended Hours                                                                                         1.00              $142.50               $142.50

                     Video - Media and Cloud Services                                                                               7.00                $46.00              $322.00

                     Video - Electronic Access                                                                                      1.00                $85.00                $85.00

                     Video - Digitizing & Transcript Synchronization                                                                7.00                $95.00              $665.00

         Notes:                                                                                                                               Invoice Total:              $2,174.50
                                                                                                                                                   Payment:             ($2,174.50)
                                                                                                                                                       Credit:                 $0.00
                                                                                                                                                     Interest:                 $0.00
                                                                                                                                              Balance Due:                     $0.00
         TERMS: Payable upon receipt. Accounts 30 days past due will bear a finance charge of 1.5% per month. Accounts unpaid after 90 days agree to pay all collection costs,
         including reasonable attorney's fees. Contact us to correct payment errors. No adjustments will be made after 90 days. For more information on charges related to our services
         please consult http://www.veritext.com/services/all-services/services-information




        Remit to:                                              Pay By ACH (Include invoice numbers):                                           Invoice #: 4968310
        Veritext                                                         A/C Name:Veritext                                                 Invoice Date: 4/23/2021
        P.O. Box 71303                                              Bank Name:BMO Harris Bank
        Chicago IL 60694-1303                                 Bank Addr:311 W. Monroe Chicago, IL 60606                                  Balance Due: $0.00
        Fed. Tax ID: XX-XXXXXXX                                 Account No:4353454 ABA:071000288
                                                                         Swift: HATRUS44
                                                                    Pay by Credit Card: www.veritext.com


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           Case 2:18-cv-00530-MSD-RJK Document 650-3 Filed 05/03/23 Page 53 of 99 PageID# 15666


         Veritext Corporate Services LLC
         Tel. 973-410-4098 Email: Billing-Corp@veritext.com
         Fed. Tax ID: XX-XXXXXXX




         Bill To: ..                                                                                                                             Invoice #:                4259420
                     Norfolk Southern General
                                                                                                                                            Invoice Date:                 3/19/2020
                     Three Commerical Place
                     Norfolk, VA, 23510                                                                                                     Balance Due:                       $0.00


         Case: CSX transportation, Inc. v. Norfolk Southern Railway Company, et al.
                                                                                                                                              Proceeding Type: Depositions
         (2:18cv530)
         Job #: 4013060         |    Job Date: 3/12/2020 | Delivery: Expedited                                             Conrail Cost                                             N
                                                                                                                           Share: Y/N?
         Location:                  Atlanta, GA
                                                                                                                           NS In house                              Joe Carpenter
         Billing Atty:              ..                                                                                        Attorney:
         Scheduling Atty:           Michael E. Lacy | Troutman Pepper Hamilton Sanders LLP                            NS Matter/Claim                               LD201800202
                                                                                                                                    #:
         Witness: John Booth                                                                                                  Quantity                   Price              Amount

                     Transcript Services - Original Transcript(s)                                                                317.00                  $3.95            $1,252.15

                     Transcript Services - Priority Request                                                                      317.00                  $3.16            $1,001.72

                     Attendance - Half Day                                                                                          3.00                $50.00              $150.00

                     Exhibits                                                                                                    267.00                  $0.35                $93.45

                     Exhibits - Color                                                                                             67.00                  $2.25              $150.75

                     Litigation Package - Secure File Suite                                                                         1.00                $35.00                $35.00

                     Delivery & Handling                                                                                            1.00                $19.50                $19.50

                     Hosting & Delivery of Encrypted Files                                                                          1.00                $28.00                $28.00

         Notes:                                                                                                                               Invoice Total:              $2,730.57
                                                                                                                                                   Payment:             ($2,730.57)
                                                                                                                                                       Credit:                 $0.00
                                                                                                                                                     Interest:                 $0.00
                                                                                                                                              Balance Due:                     $0.00
         TERMS: Payable upon receipt. Accounts 30 days past due will bear a finance charge of 1.5% per month. Accounts unpaid after 90 days agree to pay all collection costs,
         including reasonable attorney's fees. Contact us to correct payment errors. No adjustments will be made after 90 days. For more information on charges related to our services
         please consult http://www.veritext.com/services/all-services/services-information




        Remit to:                                              Pay By ACH (Include invoice numbers):                                           Invoice #: 4259420
        Veritext                                                         A/C Name:Veritext                                                 Invoice Date: 3/19/2020
        P.O. Box 71303                                              Bank Name:BMO Harris Bank
        Chicago IL 60694-1303                                 Bank Addr:311 W. Monroe Chicago, IL 60606                                  Balance Due: $0.00
        Fed. Tax ID: XX-XXXXXXX                                 Account No:4353454 ABA:071000288
                                                                         Swift: HATRUS44
                                                                    Pay by Credit Card: www.veritext.com


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           Case 2:18-cv-00530-MSD-RJK Document 650-3 Filed 05/03/23 Page 54 of 99 PageID# 15667


         Veritext Corporate Services LLC
         Tel. 973-410-4098 Email: Billing-Corp@veritext.com
         Fed. Tax ID: XX-XXXXXXX




         Bill To:                                                                                                      Invoice #:         4788872
                     Norfolk Southern General
                                                                                                                    Invoice Date:       1/26/2021
                     Three Commerical Place
                     Norfolk, VA, 23510                                                                            Balance Due:              $0.00


         Case: CSX Transportation, Inc. v. Norfolk Southern Railway Company, Et Al.
                                                                                                                     Proceeding Type: Depositions
         (218CV530)
         Job #: 4385284         |   Job Date: 1/12/2021 | Delivery: Normal                           Conrail Cost                              no
                                                                                                     Share: Y/N?
         Location:                  Miami, FL
                                                                                                     NS In house                     Joe Carpenter
         Billing Atty:                                                                                  Attorney:
         Scheduling Atty:           Thomas R. Gentry Esq. | Skadden Arps Slate Meagher & Flom   NS Matter/Claim                      LD201800340
                                    LLP                                                                       #:
         Witness: Robert Girardot                                                                     Quantity               Price        Amount

                     Transcript Services - Original Transcript(s)                                       338.00               $3.95      $1,335.10

                     Attendance - Hourly                                                                   9.00             $40.00        $360.00

                     Exhibits                                                                            98.00               $0.35          $34.30

                     Exhibits - Color                                                                    14.00               $1.00          $14.00

                     Exhibit Share                                                                         1.00            $295.00        $295.00

                     Veritext Exhibit Package (ACE)                                                        1.00             $48.50          $48.50

                     Realtime Services - Remote                                                         338.00               $2.65        $895.70

                     Rough Draft                                                                        338.00               $1.55        $523.90

                     Witness Read and Sign Services                                                        1.00             $35.00          $35.00

                     Litigation Package - Secure File Suite                                                1.00             $35.00          $35.00

                     Veritext Virtual Primary Participants                                                 1.00            $195.00        $195.00

                     Hosting & Delivery of Encrypted Files                                                 1.00             $28.00          $28.00

         Notes:




        Remit to:                                        Pay By ACH (Include invoice numbers):                       Invoice #: 4788872
        Veritext                                                   A/C Name:Veritext                              Invoice Date: 1/26/2021
        P.O. Box 71303                                        Bank Name:BMO Harris Bank
        Chicago IL 60694-1303                           Bank Addr:311 W. Monroe Chicago, IL 60606              Balance Due: $0.00
        Fed. Tax ID: XX-XXXXXXX                           Account No:4353454 ABA:071000288
                                                                   Swift: HATRUS44
                                                              Pay by Credit Card: www.veritext.com


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           Case 2:18-cv-00530-MSD-RJK Document 650-3 Filed 05/03/23 Page 55 of 99 PageID# 15668


         Veritext Corporate Services LLC
         Tel. 973-410-4098 Email: Billing-Corp@veritext.com
         Fed. Tax ID: XX-XXXXXXX




                                                                                                                                              Invoice Total:              $3,799.50
                                                                                                                                                   Payment:             ($3,799.50)
                                                                                                                                                       Credit:                 $0.00
                                                                                                                                                     Interest:                 $0.00
                                                                                                                                              Balance Due:                     $0.00
         TERMS: Payable upon receipt. Accounts 30 days past due will bear a finance charge of 1.5% per month. Accounts unpaid after 90 days agree to pay all collection costs,
         including reasonable attorney's fees. Contact us to correct payment errors. No adjustments will be made after 90 days. For more information on charges related to our services
         please consult http://www.veritext.com/services/all-services/services-information




        Remit to:                                              Pay By ACH (Include invoice numbers):                                           Invoice #: 4788872
        Veritext                                                         A/C Name:Veritext                                                Invoice Date: 1/26/2021
        P.O. Box 71303                                              Bank Name:BMO Harris Bank
        Chicago IL 60694-1303                                 Bank Addr:311 W. Monroe Chicago, IL 60606                                  Balance Due: $0.00
        Fed. Tax ID: XX-XXXXXXX                                 Account No:4353454 ABA:071000288
                                                                         Swift: HATRUS44
                                                                    Pay by Credit Card: www.veritext.com


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           Case 2:18-cv-00530-MSD-RJK Document 650-3 Filed 05/03/23 Page 56 of 99 PageID# 15669


         Veritext Corporate Services LLC
         Tel. 973-410-4098 Email: Billing-Corp@veritext.com
         Fed. Tax ID: XX-XXXXXXX




         Bill To:                                                                                                                                Invoice #:                4790461
                     Norfolk Southern General
                                                                                                                                            Invoice Date:                 1/27/2021
                     Three Commerical Place
                     Norfolk, VA, 23510                                                                                                     Balance Due:                       $0.00


         Case: CSX Transportation, Inc. v. Norfolk Southern Railway Company, Et Al.
                                                                                                                                              Proceeding Type: Depositions
         (218CV530)
         Job #: 4395739        |   Job Date: 1/13/2021 | Delivery: Normal                                                  Conrail Cost                                             N
                                                                                                                           Share: Y/N?
         Location:                 Richmond, VA
                                                                                                                           NS In house                              Joe Carpenter
         Billing Atty:                                                                                                        Attorney:
         Scheduling Atty:          Alan D. Wingfield | Troutman Pepper Hamilton Sanders LLP                           NS Matter/Claim                               LD201800202
                                                                                                                                    #:
         Witness: Robert Girardot                                                                                             Quantity                   Price              Amount

                     Video - Initial Services                                                                                       1.00              $295.00               $295.00

                     Video - Additional Hours                                                                                       7.00                $95.00              $665.00

                     Video - Extended Hours                                                                                         2.00              $142.50               $285.00

                     Video - MPEG/Digitizing                                                                                        8.00                $65.00              $520.00

                     Video - Media and Cloud Services                                                                               8.00                $46.00              $368.00

                     Video - Electronic Access                                                                                      1.00                $85.00                $85.00

         Notes:                                                                                                                               Invoice Total:              $2,218.00
                                                                                                                                                   Payment:             ($2,218.00)
                                                                                                                                                       Credit:                 $0.00
                                                                                                                                                     Interest:                 $0.00
                                                                                                                                              Balance Due:                     $0.00
         TERMS: Payable upon receipt. Accounts 30 days past due will bear a finance charge of 1.5% per month. Accounts unpaid after 90 days agree to pay all collection costs,
         including reasonable attorney's fees. Contact us to correct payment errors. No adjustments will be made after 90 days. For more information on charges related to our services
         please consult http://www.veritext.com/services/all-services/services-information




        Remit to:                                              Pay By ACH (Include invoice numbers):                                           Invoice #: 4790461
        Veritext                                                         A/C Name:Veritext                                                 Invoice Date: 1/27/2021
        P.O. Box 71303                                              Bank Name:BMO Harris Bank
        Chicago IL 60694-1303                                 Bank Addr:311 W. Monroe Chicago, IL 60606                                  Balance Due: $0.00
        Fed. Tax ID: XX-XXXXXXX                                 Account No:4353454 ABA:071000288
                                                                         Swift: HATRUS44
                                                                    Pay by Credit Card: www.veritext.com


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           Case 2:18-cv-00530-MSD-RJK Document 650-3 Filed 05/03/23 Page 57 of 99 PageID# 15670


         Veritext Corporate Services LLC
         Tel. 973-410-4098 Email: Billing-Corp@veritext.com
         Fed. Tax ID: XX-XXXXXXX




         Bill To:                                                                                                          Invoice #:           4790557
                     Norfolk Southern General
                                                                                                                        Invoice Date:          1/26/2021
                     Three Commerical Place
                     Norfolk, VA, 23510                                                                              Balance Due:                  $0.00


         Case: CSX Transportation, Inc. v. Norfolk Southern Railway Company, Et Al.
                                                                                                                         Proceeding Type: Depositions
         (218CV530)
         Job #: 4417634         |   Job Date: 1/19/2021 | Delivery: Expedited                          Third Party:                 Virginia Proceeding
         Location:                  Norfolk, VA                                                      3rd pty/bill to:                    Norfolk Southern
         Billing Atty:                                                                                    Adjuster:                        Joe Carpenter
         Scheduling Atty:           Thomas R. Gentry Esq. | Skadden Arps Slate Meagher & Flom   Claim/matter #:                            LD201800340
                                    LLP
         Witness: Catherine Vick                                                                       Quantity                  Price          Amount

                     Transcript Services - Original Transcript(s)                                         282.00                 $3.85         $1,085.70

                     Transcript Services - Priority Request                                               282.00                 $1.54           $434.28

                     Attendance - Half Day                                                                   2.00               $75.00           $150.00

                     Exhibits                                                                              28.00                 $0.40            $11.20

                     Exhibits - Color                                                                      72.00                 $1.00            $72.00

                     Realtime Services - Remote                                                           282.00                 $2.25           $634.50

                     Realtime Services - Remote Connection                                                   1.00              $125.00           $125.00

                     Rough Draft                                                                          282.00                 $1.55           $437.10

                     Litigation Package - Secure File Suite                                                  1.00               $48.00            $48.00

                     Conference Call                                                                         1.00               $55.00            $55.00

                     Hosting & Delivery of Encrypted Files                                                   1.00               $28.00            $28.00

         Notes:




        Remit to:                                        Pay By ACH (Include invoice numbers):                           Invoice #: 4790557
        Veritext                                                   A/C Name:Veritext                                Invoice Date: 1/26/2021
        P.O. Box 71303                                        Bank Name:BMO Harris Bank
        Chicago IL 60694-1303                           Bank Addr:311 W. Monroe Chicago, IL 60606                 Balance Due: $0.00
        Fed. Tax ID: XX-XXXXXXX                           Account No:4353454 ABA:071000288
                                                                   Swift: HATRUS44
                                                              Pay by Credit Card: www.veritext.com


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           Case 2:18-cv-00530-MSD-RJK Document 650-3 Filed 05/03/23 Page 58 of 99 PageID# 15671


         Veritext Corporate Services LLC
         Tel. 973-410-4098 Email: Billing-Corp@veritext.com
         Fed. Tax ID: XX-XXXXXXX




                                                                                                                                              Invoice Total:              $3,080.78
                                                                                                                                                   Payment:             ($3,080.78)
                                                                                                                                                       Credit:                 $0.00
                                                                                                                                                     Interest:                 $0.00
                                                                                                                                              Balance Due:                     $0.00
         TERMS: Payable upon receipt. Accounts 30 days past due will bear a finance charge of 1.5% per month. Accounts unpaid after 90 days agree to pay all collection costs,
         including reasonable attorney's fees. Contact us to correct payment errors. No adjustments will be made after 90 days. For more information on charges related to our services
         please consult http://www.veritext.com/services/all-services/services-information




        Remit to:                                              Pay By ACH (Include invoice numbers):                                           Invoice #: 4790557
        Veritext                                                         A/C Name:Veritext                                                Invoice Date: 1/26/2021
        P.O. Box 71303                                              Bank Name:BMO Harris Bank
        Chicago IL 60694-1303                                 Bank Addr:311 W. Monroe Chicago, IL 60606                                  Balance Due: $0.00
        Fed. Tax ID: XX-XXXXXXX                                 Account No:4353454 ABA:071000288
                                                                         Swift: HATRUS44
                                                                    Pay by Credit Card: www.veritext.com


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           Case 2:18-cv-00530-MSD-RJK Document 650-3 Filed 05/03/23 Page 59 of 99 PageID# 15672


         Veritext Corporate Services LLC
         Tel. 973-410-4098 Email: Billing-Corp@veritext.com
         Fed. Tax ID: XX-XXXXXXX




         Bill To:                                                                                                      Invoice #:         4791778
                     Norfolk Southern General
                                                                                                                    Invoice Date:       1/27/2021
                     Three Commerical Place
                     Norfolk, VA, 23510                                                                            Balance Due:              $0.00


         Case: CSX Transportation, Inc. v. Norfolk Southern Railway Company, Et Al.
                                                                                                                     Proceeding Type: Depositions
         (218CV530)
         Job #: 4376064         |   Job Date: 1/15/2021 | Delivery: Normal                           Conrail Cost                              no
                                                                                                     Share: Y/N?
         Location:                  Miami, FL
                                                                                                     NS In house                     Joe Carpenter
         Billing Atty:                                                                                  Attorney:
         Scheduling Atty:           Thomas R. Gentry Esq. | Skadden Arps Slate Meagher & Flom   NS Matter/Claim                      LD201800340
                                    LLP                                                                       #:
         Witness: Dean Piacente                                                                       Quantity               Price        Amount

                     Transcript Services - Original Transcript(s)                                       217.00               $3.95        $857.15

                     Attendance - Hourly                                                                   7.00             $40.00        $280.00

                     Exhibits                                                                           114.00               $0.35          $39.90

                     Exhibit Share                                                                         1.00            $295.00        $295.00

                     Exhibit Share Addl Presenter                                                          2.00             $95.00        $190.00

                     Realtime Services - Remote                                                         217.00               $2.65        $575.05

                     Rough Draft                                                                        217.00               $1.55        $336.35

                     Witness Read and Sign Services                                                        1.00             $35.00          $35.00

                     Litigation Package - Secure File Suite                                                1.00             $35.00          $35.00

                     Veritext Virtual Primary Participants                                                 1.00            $195.00        $195.00

                     Hosting & Delivery of Encrypted Files                                                 1.00             $28.00          $28.00

         Notes:




        Remit to:                                        Pay By ACH (Include invoice numbers):                       Invoice #: 4791778
        Veritext                                                   A/C Name:Veritext                              Invoice Date: 1/27/2021
        P.O. Box 71303                                        Bank Name:BMO Harris Bank
        Chicago IL 60694-1303                           Bank Addr:311 W. Monroe Chicago, IL 60606              Balance Due: $0.00
        Fed. Tax ID: XX-XXXXXXX                           Account No:4353454 ABA:071000288
                                                                   Swift: HATRUS44
                                                              Pay by Credit Card: www.veritext.com


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           Case 2:18-cv-00530-MSD-RJK Document 650-3 Filed 05/03/23 Page 60 of 99 PageID# 15673


         Veritext Corporate Services LLC
         Tel. 973-410-4098 Email: Billing-Corp@veritext.com
         Fed. Tax ID: XX-XXXXXXX




                                                                                                                                              Invoice Total:              $2,866.45
                                                                                                                                                   Payment:             ($2,866.45)
                                                                                                                                                       Credit:                 $0.00
                                                                                                                                                     Interest:                 $0.00
                                                                                                                                              Balance Due:                     $0.00
         TERMS: Payable upon receipt. Accounts 30 days past due will bear a finance charge of 1.5% per month. Accounts unpaid after 90 days agree to pay all collection costs,
         including reasonable attorney's fees. Contact us to correct payment errors. No adjustments will be made after 90 days. For more information on charges related to our services
         please consult http://www.veritext.com/services/all-services/services-information




        Remit to:                                              Pay By ACH (Include invoice numbers):                                           Invoice #: 4791778
        Veritext                                                         A/C Name:Veritext                                                Invoice Date: 1/27/2021
        P.O. Box 71303                                              Bank Name:BMO Harris Bank
        Chicago IL 60694-1303                                 Bank Addr:311 W. Monroe Chicago, IL 60606                                  Balance Due: $0.00
        Fed. Tax ID: XX-XXXXXXX                                 Account No:4353454 ABA:071000288
                                                                         Swift: HATRUS44
                                                                    Pay by Credit Card: www.veritext.com


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           Case 2:18-cv-00530-MSD-RJK Document 650-3 Filed 05/03/23 Page 61 of 99 PageID# 15674


         Veritext Corporate Services LLC
         Tel. 973-410-4098 Email: Billing-Corp@veritext.com
         Fed. Tax ID: XX-XXXXXXX




         Bill To:                                                                                                                                Invoice #:                4793863
                     Norfolk Southern General
                                                                                                                                            Invoice Date:                 1/28/2021
                     Three Commerical Place
                     Norfolk, VA, 23510                                                                                                     Balance Due:                       $0.00


         Case: CSX Transportation, Inc. v. Norfolk Southern Railway Company, Et Al.
                                                                                                                                              Proceeding Type: Depositions
         (218CV530)
         Job #: 4376064        |   Job Date: 1/15/2021 | Delivery: Normal                                                  Conrail Cost                                            no
                                                                                                                           Share: Y/N?
         Location:                 Miami, FL
                                                                                                                           NS In house                              Joe Carpenter
         Billing Atty:                                                                                                        Attorney:
         Scheduling Atty:          Thomas R. Gentry Esq. | Skadden Arps Slate Meagher & Flom                          NS Matter/Claim                               LD201800340
                                   LLP                                                                                              #:
         Witness: Dean Piacente                                                                                               Quantity                   Price              Amount

                     Video - Initial Services                                                                                       1.00              $295.00               $295.00

                     Video - Additional Hours                                                                                       6.00                $95.00              $570.00

                     Video - Media and Cloud Services                                                                               5.00                $46.00              $230.00

                     Video - Electronic Access                                                                                      1.00                $85.00                $85.00

                     Video - Digitizing & Transcript Synchronization                                                                5.00                $95.00              $475.00

         Notes:                                                                                                                               Invoice Total:              $1,655.00
                                                                                                                                                   Payment:             ($1,655.00)
                                                                                                                                                       Credit:                 $0.00
                                                                                                                                                     Interest:                 $0.00
                                                                                                                                              Balance Due:                     $0.00
         TERMS: Payable upon receipt. Accounts 30 days past due will bear a finance charge of 1.5% per month. Accounts unpaid after 90 days agree to pay all collection costs,
         including reasonable attorney's fees. Contact us to correct payment errors. No adjustments will be made after 90 days. For more information on charges related to our services
         please consult http://www.veritext.com/services/all-services/services-information




        Remit to:                                              Pay By ACH (Include invoice numbers):                                           Invoice #: 4793863
        Veritext                                                         A/C Name:Veritext                                                 Invoice Date: 1/28/2021
        P.O. Box 71303                                              Bank Name:BMO Harris Bank
        Chicago IL 60694-1303                                 Bank Addr:311 W. Monroe Chicago, IL 60606                                  Balance Due: $0.00
        Fed. Tax ID: XX-XXXXXXX                                 Account No:4353454 ABA:071000288
                                                                         Swift: HATRUS44
                                                                    Pay by Credit Card: www.veritext.com


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           Case 2:18-cv-00530-MSD-RJK Document 650-3 Filed 05/03/23 Page 62 of 99 PageID# 15675


         Veritext Corporate Services LLC
         Tel. 973-410-4098 Email: Billing-Corp@veritext.com
         Fed. Tax ID: XX-XXXXXXX




         Bill To:                                                                                                                                Invoice #:                4795464
                     Norfolk Southern General
                                                                                                                                              Invoice Date:               1/29/2021
                     Three Commerical Place
                     Norfolk, VA, 23510                                                                                                     Balance Due:                       $0.00


         Case: CSX Transportation, Inc. v. Norfolk Southern Railway Company, et al.
                                                                                                                                               Proceeding Type: Depositions
         (218CV530)
         Job #: 4423103         |   Job Date: 1/22/2021 | Delivery: Expedited                                                Third Party:                     Virginia Proceeding
         Location:                  Norfolk, VA                                                                            3rd pty/bill to:          Norfolk Southern Railway
                                                                                                                                                                     Company
         Billing Atty:
                                                                                                                        Claim/matter #:                             LD201800340
         Scheduling Atty:           Thomas R. Gentry Esq. | Skadden Arps Slate Meagher & Flom
                                    LLP
         Witness: Thomas Capozzi                                                                                                                                            Amount

                     Transcript Services - Priority Request                                                                                                                 $466.20

                     Transcript Services                                                                                                                                    $929.25

                     Professional Attendance                                                                                                                                $150.00

                     Exhibits                                                                                                                                               $104.40

                     Realtime Services                                                                                                                                      $613.25

                     Rough Draft                                                                                                                                            $708.75

                     Logistics, Processing & Electronics Files                                                                                                              $124.50

                     Conference Call                                                                                                                                          $37.50

         Notes:                                                                                                                                Invoice Total:             $3,133.85
                                                                                                                                                   Payment:             ($3,133.85)
                                                                                                                                                       Credit:                 $0.00
                                                                                                                                                     Interest:                 $0.00
                                                                                                                                               Balance Due:                    $0.00
         TERMS: Payable upon receipt. Accounts 30 days past due will bear a finance charge of 1.5% per month. Accounts unpaid after 90 days agree to pay all collection costs,
         including reasonable attorney's fees. Contact us to correct payment errors. No adjustments will be made after 90 days. For more information on charges related to our services
         please consult http://www.veritext.com/services/all-services/services-information




        Remit to:                                              Pay By ACH (Include invoice numbers):                                           Invoice #: 4795464
        Veritext                                                         A/C Name:Veritext                                                Invoice Date: 1/29/2021
        P.O. Box 71303                                              Bank Name:BMO Harris Bank
        Chicago IL 60694-1303                                 Bank Addr:311 W. Monroe Chicago, IL 60606                                  Balance Due: $0.00
        Fed. Tax ID: XX-XXXXXXX                                 Account No:4353454 ABA:071000288
                                                                         Swift: HATRUS44
                                                                    Pay by Credit Card: www.veritext.com


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           Case 2:18-cv-00530-MSD-RJK Document 650-3 Filed 05/03/23 Page 63 of 99 PageID# 15676


         Veritext Corporate Services LLC
         Tel. 973-410-4098 Email: Billing-Corp@veritext.com
         Fed. Tax ID: XX-XXXXXXX




         Bill To:                                                                                                                                Invoice #:                4799762
                     Norfolk Southern General
                                                                                                                                              Invoice Date:                2/1/2021
                     Three Commerical Place
                     Norfolk, VA, 23510                                                                                                     Balance Due:                       $0.00


         Case: CSX Transportation, Inc. v. Norfolk Southern Railway Company, Et Al.
                                                                                                                                               Proceeding Type: Depositions
         (218CV530)
         Job #: 4417634        |   Job Date: 1/19/2021 | Delivery: Normal                                                    Third Party:                     Virginia Proceeding
         Location:                 Norfolk, VA                                                                             3rd pty/bill to:                      Norfolk Southern
         Billing Atty:                                                                                                           Adjuster:                          Joe Carpenter
         Scheduling Atty:          Thomas R. Gentry Esq. | Skadden Arps Slate Meagher & Flom                            Claim/matter #:                             LD201800340
                                   LLP
         Witness: Catherine Vick                                                                                              Quantity                   Price              Amount

                     Video - Initial Services                                                                                       1.00              $295.00               $295.00

                     Video - Additional Hours                                                                                       6.00              $110.00               $660.00

                     Video - Media and Cloud Services                                                                               6.00                $46.00              $276.00

                     Video - Electronic Access                                                                                      1.00                $85.00                $85.00

                     Video - Digitizing & Transcript Synchronization                                                                6.00              $110.00               $660.00

         Notes:                                                                                                                                Invoice Total:             $1,976.00
                                                                                                                                                   Payment:             ($1,976.00)
                                                                                                                                                       Credit:                 $0.00
                                                                                                                                                     Interest:                 $0.00
                                                                                                                                               Balance Due:                    $0.00
         TERMS: Payable upon receipt. Accounts 30 days past due will bear a finance charge of 1.5% per month. Accounts unpaid after 90 days agree to pay all collection costs,
         including reasonable attorney's fees. Contact us to correct payment errors. No adjustments will be made after 90 days. For more information on charges related to our services
         please consult http://www.veritext.com/services/all-services/services-information




        Remit to:                                              Pay By ACH (Include invoice numbers):                                           Invoice #: 4799762
        Veritext                                                         A/C Name:Veritext                                                 Invoice Date: 2/1/2021
        P.O. Box 71303                                              Bank Name:BMO Harris Bank
        Chicago IL 60694-1303                                 Bank Addr:311 W. Monroe Chicago, IL 60606                                  Balance Due: $0.00
        Fed. Tax ID: XX-XXXXXXX                                 Account No:4353454 ABA:071000288
                                                                         Swift: HATRUS44
                                                                    Pay by Credit Card: www.veritext.com


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           Case 2:18-cv-00530-MSD-RJK Document 650-3 Filed 05/03/23 Page 64 of 99 PageID# 15677


         Veritext Corporate Services LLC
         Tel. 973-410-4098 Email: Billing-Corp@veritext.com
         Fed. Tax ID: XX-XXXXXXX




         Bill To:                                                                                                      Invoice #:         4803499
                     Norfolk Southern General
                                                                                                                    Invoice Date:         2/2/2021
                     Three Commerical Place
                     Norfolk, VA, 23510                                                                            Balance Due:              $0.00


         Case: CSX Transportation, Inc. v. Norfolk Southern Railway Company, Et Al.
                                                                                                                     Proceeding Type: Depositions
         (218CV530)
         Job #: 4385298         |   Job Date: 1/14/2021 | Delivery: Normal                           Conrail Cost                              no
                                                                                                     Share: Y/N?
         Location:                  Miami, FL
                                                                                                     NS In house                     Joe Carpenter
         Billing Atty:                                                                                  Attorney:
         Scheduling Atty:           Thomas R. Gentry Esq. | Skadden Arps Slate Meagher & Flom   NS Matter/Claim                      LD201800340
                                    LLP                                                                       #:
         Witness: Quintin Kendall                                                                     Quantity               Price         Amount

                     Transcript Services - Original Transcript(s)                                       223.00               $3.95         $880.85

                     Attendance - Hourly                                                                   7.00             $40.00         $280.00

                     Exhibits                                                                           115.00               $0.35          $40.25

                     Exhibit Share                                                                         1.00            $295.00         $295.00

                     Exhibit Share Addl Presenter                                                          3.00             $95.00         $285.00

                     Realtime Services - Remote                                                         223.00               $2.65         $590.95

                     Rough Draft                                                                        223.00               $1.55         $345.65

                     Witness Read and Sign Services                                                        1.00             $35.00          $35.00

                     Litigation Package - Secure File Suite                                                1.00             $35.00          $35.00

                     Veritext Virtual Primary Participants                                                 1.00            $195.00         $195.00

                     Hosting & Delivery of Encrypted Files                                                 1.00             $28.00          $28.00

         Notes:




        Remit to:                                        Pay By ACH (Include invoice numbers):                       Invoice #: 4803499
        Veritext                                                   A/C Name:Veritext                              Invoice Date: 2/2/2021
        P.O. Box 71303                                        Bank Name:BMO Harris Bank
        Chicago IL 60694-1303                           Bank Addr:311 W. Monroe Chicago, IL 60606              Balance Due: $0.00
        Fed. Tax ID: XX-XXXXXXX                           Account No:4353454 ABA:071000288
                                                                   Swift: HATRUS44
                                                              Pay by Credit Card: www.veritext.com


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           Case 2:18-cv-00530-MSD-RJK Document 650-3 Filed 05/03/23 Page 65 of 99 PageID# 15678


         Veritext Corporate Services LLC
         Tel. 973-410-4098 Email: Billing-Corp@veritext.com
         Fed. Tax ID: XX-XXXXXXX




                                                                                                                                              Invoice Total:              $3,010.70
                                                                                                                                                   Payment:             ($3,010.70)
                                                                                                                                                       Credit:                 $0.00
                                                                                                                                                     Interest:                 $0.00
                                                                                                                                              Balance Due:                     $0.00
         TERMS: Payable upon receipt. Accounts 30 days past due will bear a finance charge of 1.5% per month. Accounts unpaid after 90 days agree to pay all collection costs,
         including reasonable attorney's fees. Contact us to correct payment errors. No adjustments will be made after 90 days. For more information on charges related to our services
         please consult http://www.veritext.com/services/all-services/services-information




        Remit to:                                              Pay By ACH (Include invoice numbers):                                           Invoice #: 4803499
        Veritext                                                         A/C Name:Veritext                                                Invoice Date: 2/2/2021
        P.O. Box 71303                                              Bank Name:BMO Harris Bank
        Chicago IL 60694-1303                                 Bank Addr:311 W. Monroe Chicago, IL 60606                                  Balance Due: $0.00
        Fed. Tax ID: XX-XXXXXXX                                 Account No:4353454 ABA:071000288
                                                                         Swift: HATRUS44
                                                                    Pay by Credit Card: www.veritext.com


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           Case 2:18-cv-00530-MSD-RJK Document 650-3 Filed 05/03/23 Page 66 of 99 PageID# 15679


         Veritext Corporate Services LLC
         Tel. 973-410-4098 Email: Billing-Corp@veritext.com
         Fed. Tax ID: XX-XXXXXXX




         Bill To:                                                                                                                                Invoice #:                4805732
                     Norfolk Southern General
                                                                                                                                            Invoice Date:                  2/3/2021
                     Three Commerical Place
                     Norfolk, VA, 23510                                                                                                     Balance Due:                  $1,655.00


         Case: CSX Transportation, Inc. v. Norfolk Southern Railway Company, Et Al.
                                                                                                                                              Proceeding Type: Depositions
         (218CV530)
         Job #: 4385298        |   Job Date: 1/14/2021 | Delivery: Normal                                                  Conrail Cost                                            no
                                                                                                                           Share: Y/N?
         Location:                 Miami, FL
                                                                                                                           NS In house                              Joe Carpenter
         Billing Atty:                                                                                                        Attorney:
         Scheduling Atty:          Thomas R. Gentry Esq. | Skadden Arps Slate Meagher & Flom                          NS Matter/Claim                               LD201800340
                                   LLP                                                                                              #:
         Witness: Quintin Kendall                                                                                             Quantity                   Price              Amount

                     Video - Initial Services                                                                                       1.00              $295.00               $295.00

                     Video - Additional Hours                                                                                       6.00                $95.00              $570.00

                     Video - Media and Cloud Services                                                                               5.00                $46.00              $230.00

                     Video - Electronic Access                                                                                      1.00                $85.00                $85.00

                     Video - Digitizing & Transcript Synchronization                                                                5.00                $95.00              $475.00

         Notes:                                                                                                                               Invoice Total:              $1,655.00
                                                                                                                                                   Payment:                    $0.00
                                                                                                                                                       Credit:                 $0.00
                                                                                                                                                     Interest:                 $0.00
                                                                                                                                              Balance Due:                $1,655.00
         TERMS: Payable upon receipt. Accounts 30 days past due will bear a finance charge of 1.5% per month. Accounts unpaid after 90 days agree to pay all collection costs,
         including reasonable attorney's fees. Contact us to correct payment errors. No adjustments will be made after 90 days. For more information on charges related to our services
         please consult http://www.veritext.com/services/all-services/services-information




                                        THIS INVOICE IS 819 DAYS PAST DUE, PLEASE REMIT - THANK YOU
        Remit to:                                              Pay By ACH (Include invoice numbers):                                           Invoice #: 4805732
        Veritext                                                         A/C Name:Veritext                                                 Invoice Date: 2/3/2021
        P.O. Box 71303                                              Bank Name:BMO Harris Bank
        Chicago IL 60694-1303                                 Bank Addr:311 W. Monroe Chicago, IL 60606                                  Balance Due: $1,655.00
        Fed. Tax ID: XX-XXXXXXX                                 Account No:4353454 ABA:071000288
                                                                         Swift: HATRUS44
                                                                    Pay by Credit Card: www.veritext.com


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           Case 2:18-cv-00530-MSD-RJK Document 650-3 Filed 05/03/23 Page 67 of 99 PageID# 15680


         Veritext Corporate Services LLC
         Tel. 973-410-4098 Email: Billing-Corp@veritext.com
         Fed. Tax ID: XX-XXXXXXX




         Bill To:                                                                                                                                Invoice #:                4806896
                     Norfolk Southern General
                                                                                                                                            Invoice Date:                  2/3/2021
                     Three Commerical Place
                     Norfolk, VA, 23510                                                                                                     Balance Due:                       $0.00


         Case: CSX Transportation, Inc. v. Norfolk Southern Railway Company, Et Al.
                                                                                                                                              Proceeding Type: Depositions
         (218CV530)
         Job #: 4380453        |   Job Date: 1/20/2021 | Delivery: Normal                                                  Conrail Cost                                             N
                                                                                                                           Share: Y/N?
         Location:                 Miami, FL
                                                                                                                           NS In house                              Joe Carpenter
         Billing Atty:                                                                                                        Attorney:
         Scheduling Atty:          Michael E. Lacy | Troutman Pepper Hamilton Sanders LLP                             NS Matter/Claim                               LD201800202
                                                                                                                                    #:
         Witness: Anthony MacDonald                                                                                           Quantity                   Price              Amount

                     Video - Initial Services                                                                                       1.00              $295.00               $295.00

                     Video - Additional Hours                                                                                       6.00                $95.00              $570.00

                     Video - Extended Hours                                                                                         1.00              $142.50               $142.50

                     Video - Media and Cloud Services                                                                               6.00                $46.00              $276.00

                     Video - Electronic Access                                                                                      1.00                $85.00                $85.00

                     Video - Digitizing & Transcript Synchronization                                                                6.00                $95.00              $570.00

         Notes:                                                                                                                               Invoice Total:              $1,938.50
                                                                                                                                                   Payment:             ($1,938.50)
                                                                                                                                                       Credit:                 $0.00
                                                                                                                                                     Interest:                 $0.00
                                                                                                                                              Balance Due:                     $0.00
         TERMS: Payable upon receipt. Accounts 30 days past due will bear a finance charge of 1.5% per month. Accounts unpaid after 90 days agree to pay all collection costs,
         including reasonable attorney's fees. Contact us to correct payment errors. No adjustments will be made after 90 days. For more information on charges related to our services
         please consult http://www.veritext.com/services/all-services/services-information




        Remit to:                                              Pay By ACH (Include invoice numbers):                                           Invoice #: 4806896
        Veritext                                                         A/C Name:Veritext                                                 Invoice Date: 2/3/2021
        P.O. Box 71303                                              Bank Name:BMO Harris Bank
        Chicago IL 60694-1303                                 Bank Addr:311 W. Monroe Chicago, IL 60606                                  Balance Due: $0.00
        Fed. Tax ID: XX-XXXXXXX                                 Account No:4353454 ABA:071000288
                                                                         Swift: HATRUS44
                                                                    Pay by Credit Card: www.veritext.com


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           Case 2:18-cv-00530-MSD-RJK Document 650-3 Filed 05/03/23 Page 68 of 99 PageID# 15681


         Veritext Corporate Services LLC
         Tel. 973-410-4098 Email: Billing-Corp@veritext.com
         Fed. Tax ID: XX-XXXXXXX




         Bill To:                                                                                                                                Invoice #:                4811194
                     Norfolk Southern General
                                                                                                                                              Invoice Date:                2/5/2021
                     Three Commerical Place
                     Norfolk, VA, 23510                                                                                                     Balance Due:                       $0.00


         Case: CSX Transportation, Inc. v. Norfolk Southern Railway Company, et al.
                                                                                                                                               Proceeding Type: Depositions
         (218CV530)
         Job #: 4423103        |   Job Date: 1/22/2021 | Delivery: Normal                                                    Third Party:                     Virginia Proceeding
         Location:                 Norfolk, VA                                                                             3rd pty/bill to:          Norfolk Southern Railway
                                                                                                                                                                     Company
         Billing Atty:
                                                                                                                        Claim/matter #:                             LD201800340
         Scheduling Atty:          Thomas R. Gentry Esq. | Skadden Arps Slate Meagher & Flom
                                   LLP
         Witness: Thomas Capozzi                                                                                              Quantity                   Price              Amount

                     Video - Initial Services                                                                                       1.00              $295.00               $295.00

                     Video - Additional Hours                                                                                       7.00              $110.00               $770.00

                     Video - Media and Cloud Services                                                                               6.00                $46.00              $276.00

                     Video - Electronic Access                                                                                      1.00                $85.00                $85.00

                     Video - Digitizing & Transcript Synchronization                                                                6.00              $110.00               $660.00

         Notes:                                                                                                                                Invoice Total:             $2,086.00
                                                                                                                                                   Payment:             ($2,086.00)
                                                                                                                                                       Credit:                 $0.00
                                                                                                                                                     Interest:                 $0.00
                                                                                                                                               Balance Due:                    $0.00
         TERMS: Payable upon receipt. Accounts 30 days past due will bear a finance charge of 1.5% per month. Accounts unpaid after 90 days agree to pay all collection costs,
         including reasonable attorney's fees. Contact us to correct payment errors. No adjustments will be made after 90 days. For more information on charges related to our services
         please consult http://www.veritext.com/services/all-services/services-information




        Remit to:                                              Pay By ACH (Include invoice numbers):                                           Invoice #: 4811194
        Veritext                                                         A/C Name:Veritext                                                 Invoice Date: 2/5/2021
        P.O. Box 71303                                              Bank Name:BMO Harris Bank
        Chicago IL 60694-1303                                 Bank Addr:311 W. Monroe Chicago, IL 60606                                  Balance Due: $0.00
        Fed. Tax ID: XX-XXXXXXX                                 Account No:4353454 ABA:071000288
                                                                         Swift: HATRUS44
                                                                    Pay by Credit Card: www.veritext.com


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           Case 2:18-cv-00530-MSD-RJK Document 650-3 Filed 05/03/23 Page 69 of 99 PageID# 15682


         Veritext Corporate Services LLC
         Tel. 973-410-4098 Email: Billing-Corp@veritext.com
         Fed. Tax ID: XX-XXXXXXX




         Bill To:                                                                                                                                Invoice #:                4833938
                     Norfolk Southern General
                                                                                                                                              Invoice Date:               2/17/2021
                     Three Commerical Place
                     Norfolk, VA, 23510                                                                                                     Balance Due:                       $0.00


         Case: CSX Transportation, Inc. v. Norfolk Southern Railway Company, Et Al.
                                                                                                                                               Proceeding Type: Depositions
         (218CV530)
         Job #: 4449110        |   Job Date: 2/5/2021 | Delivery: Normal                                                     Third Party:                     Virginia Proceeding
         Location:                 Norfolk, VA                                                                             3rd pty/bill to:                      Norfolk Southern
         Billing Atty:                                                                                                           Adjuster:                          Joe Carpenter
         Scheduling Atty:          Thomas R. Gentry Esq. | Skadden Arps Slate Meagher & Flom                            Claim/matter #:                             LD201800340
                                   LLP
         Witness: Catherine Vick                                                                                              Quantity                   Price              Amount

                     Transcript Services - Original Transcript(s)                                                                 56.00                  $3.85              $215.60

                     Attendance - Half Day                                                                                          1.00                $75.00                $75.00

                     Realtime Services - Remote                                                                                   56.00                  $2.65              $148.40

                     Realtime Services - Remote Connection                                                                          1.00                $95.00                $95.00

                     Rough Draft                                                                                                  56.00                  $2.25              $126.00

                     Litigation Package - Secure File Suite                                                                         1.00                $48.00                $48.00

                     Conference Call                                                                                                1.00                $55.00                $55.00

                     Hosting & Delivery of Encrypted Files                                                                          1.00                $28.00                $28.00

         Notes:                                                                                                                                Invoice Total:               $791.00
                                                                                                                                                   Payment:               ($791.00)
                                                                                                                                                       Credit:                 $0.00
                                                                                                                                                     Interest:                 $0.00
                                                                                                                                               Balance Due:                    $0.00
         TERMS: Payable upon receipt. Accounts 30 days past due will bear a finance charge of 1.5% per month. Accounts unpaid after 90 days agree to pay all collection costs,
         including reasonable attorney's fees. Contact us to correct payment errors. No adjustments will be made after 90 days. For more information on charges related to our services
         please consult http://www.veritext.com/services/all-services/services-information




        Remit to:                                              Pay By ACH (Include invoice numbers):                                           Invoice #: 4833938
        Veritext                                                         A/C Name:Veritext                                                 Invoice Date: 2/17/2021
        P.O. Box 71303                                              Bank Name:BMO Harris Bank
        Chicago IL 60694-1303                                 Bank Addr:311 W. Monroe Chicago, IL 60606                                  Balance Due: $0.00
        Fed. Tax ID: XX-XXXXXXX                                 Account No:4353454 ABA:071000288
                                                                         Swift: HATRUS44
                                                                    Pay by Credit Card: www.veritext.com


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           Case 2:18-cv-00530-MSD-RJK Document 650-3 Filed 05/03/23 Page 70 of 99 PageID# 15683


         Veritext Corporate Services LLC
         Tel. 973-410-4098 Email: Billing-Corp@veritext.com
         Fed. Tax ID: XX-XXXXXXX




         Bill To:                                                                                                                                Invoice #:                4866050
                     Norfolk Southern General
                                                                                                                                              Invoice Date:                3/4/2021
                     Three Commerical Place
                     Norfolk, VA, 23510                                                                                                     Balance Due:                       $0.00


         Case: CSX Transportation, Inc. v. Norfolk Southern Railway Company, Et Al.
                                                                                                                                               Proceeding Type: Depositions
         (218CV530)
         Job #: 4449110        |   Job Date: 2/5/2021 | Delivery: Normal                                                     Third Party:                     Virginia Proceeding
         Location:                 Norfolk, VA                                                                             3rd pty/bill to:                      Norfolk Southern
         Billing Atty:                                                                                                           Adjuster:                          Joe Carpenter
         Scheduling Atty:          Thomas R. Gentry Esq. | Skadden Arps Slate Meagher & Flom                            Claim/matter #:                             LD201800340
                                   LLP
         Witness: Catherine Vick                                                                                              Quantity                   Price              Amount

                     Video - Initial Services                                                                                       1.00              $295.00               $295.00

                     Video - Additional Hours                                                                                       1.00              $110.00               $110.00

                     Video - Media and Cloud Services                                                                               1.00                $46.00                $46.00

                     Video - Electronic Access                                                                                      1.00                $85.00                $85.00

                     Video - Digitizing & Transcript Synchronization                                                                1.00              $110.00               $110.00

         Notes:                                                                                                                                Invoice Total:               $646.00
                                                                                                                                                   Payment:               ($646.00)
                                                                                                                                                       Credit:                 $0.00
                                                                                                                                                     Interest:                 $0.00
                                                                                                                                               Balance Due:                    $0.00
         TERMS: Payable upon receipt. Accounts 30 days past due will bear a finance charge of 1.5% per month. Accounts unpaid after 90 days agree to pay all collection costs,
         including reasonable attorney's fees. Contact us to correct payment errors. No adjustments will be made after 90 days. For more information on charges related to our services
         please consult http://www.veritext.com/services/all-services/services-information




        Remit to:                                              Pay By ACH (Include invoice numbers):                                           Invoice #: 4866050
        Veritext                                                         A/C Name:Veritext                                                 Invoice Date: 3/4/2021
        P.O. Box 71303                                              Bank Name:BMO Harris Bank
        Chicago IL 60694-1303                                 Bank Addr:311 W. Monroe Chicago, IL 60606                                  Balance Due: $0.00
        Fed. Tax ID: XX-XXXXXXX                                 Account No:4353454 ABA:071000288
                                                                         Swift: HATRUS44
                                                                    Pay by Credit Card: www.veritext.com


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           Case 2:18-cv-00530-MSD-RJK Document 650-3 Filed 05/03/23 Page 71 of 99 PageID# 15684


         Veritext Corporate Services LLC
         Tel. 973-410-4098 Email: Billing-Corp@veritext.com
         Fed. Tax ID: XX-XXXXXXX




         Bill To:                                                                                                      Invoice #:         4896965
                     Norfolk Southern General
                                                                                                                    Invoice Date:       3/23/2021
                     Three Commerical Place
                     Norfolk, VA, 23510                                                                            Balance Due:              $0.00


         Case: CSX Transportation, Inc. v. Norfolk Southern Railway Company, Et Al.
                                                                                                                     Proceeding Type: Depositions
         (218CV530)
         Job #: 4501152         |   Job Date: 3/17/2021 | Delivery: Expedited                        Conrail Cost                              No
                                                                                                     Share: Y/N?
         Location:                  Miami, FL
                                                                                                     NS In house                     Joe Carpenter
         Billing Atty:                                                                                  Attorney:
         Scheduling Atty:           Thomas R. Gentry Esq. | Skadden Arps Slate Meagher & Flom   NS Matter/Claim                      LD201800340
                                    LLP                                                                       #:
         Witness: Jay Strongosky                                                                      Quantity               Price        Amount

                     Transcript Services - Original Transcript(s)                                       106.00               $3.95        $418.70

                     Attendance - Hourly                                                                   9.00             $40.00        $360.00

                     Exhibits                                                                           129.00               $0.35          $45.15

                     Rough Draft                                                                        106.00               $1.55        $164.30

                     Rough Draft                                                                        106.00               $1.55        $164.30

                     Rough Draft                                                                        106.00               $1.55        $164.30

                     Rough Draft                                                                        106.00               $1.55        $164.30

                     Litigation Package - Secure File Suite                                                1.00             $35.00          $35.00

         Witness: Robert J. Girardot                                                                  Quantity               Price        Amount

                     Transcript Services - Original Transcript(s)                                       205.00               $3.95        $809.75

                     Surcharge – Non-Standard Bus Hrs                                                   121.00               $0.50          $60.50

                     Exhibits                                                                           100.00               $0.35          $35.00

                     Rough Draft                                                                        205.00               $1.55        $317.75

                     Rough Draft                                                                        205.00               $1.55        $317.75



        Remit to:                                        Pay By ACH (Include invoice numbers):                       Invoice #: 4896965
        Veritext                                                   A/C Name:Veritext                              Invoice Date: 3/23/2021
        P.O. Box 71303                                        Bank Name:BMO Harris Bank
        Chicago IL 60694-1303                           Bank Addr:311 W. Monroe Chicago, IL 60606              Balance Due: $0.00
        Fed. Tax ID: XX-XXXXXXX                           Account No:4353454 ABA:071000288
                                                                   Swift: HATRUS44
                                                              Pay by Credit Card: www.veritext.com


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           Case 2:18-cv-00530-MSD-RJK Document 650-3 Filed 05/03/23 Page 72 of 99 PageID# 15685


         Veritext Corporate Services LLC
         Tel. 973-410-4098 Email: Billing-Corp@veritext.com
         Fed. Tax ID: XX-XXXXXXX




                    Rough Draft                                                                                                  205.00                  $1.55              $317.75

                    Rough Draft                                                                                                  205.00                  $1.55              $317.75

                    Litigation Package - Secure File Suite                                                                          1.00                $35.00                $35.00

                                                                                                                              Quantity                   Price              Amount

                    Exhibit Share                                                                                                   1.00              $295.00               $295.00

                    Exhibit Share Addl Presenter                                                                                    2.00                $95.00              $190.00

                    Veritext Exhibit Package (ACE)                                                                                  1.00                $48.50                $48.50

                    Veritext Virtual Primary Participants                                                                           1.00              $195.00               $195.00

                    Concierge Tech Support                                                                                          9.00              $150.00             $1,350.00

                    Hosting & Delivery of Encrypted Files                                                                           1.00                $28.00                $28.00

         Notes:                                                                                                                               Invoice Total:              $5,833.80
                                                                                                                                                   Payment:             ($5,833.80)
                                                                                                                                                       Credit:                 $0.00
                                                                                                                                                     Interest:                 $0.00
                                                                                                                                              Balance Due:                     $0.00
         TERMS: Payable upon receipt. Accounts 30 days past due will bear a finance charge of 1.5% per month. Accounts unpaid after 90 days agree to pay all collection costs,
         including reasonable attorney's fees. Contact us to correct payment errors. No adjustments will be made after 90 days. For more information on charges related to our services
         please consult http://www.veritext.com/services/all-services/services-information




        Remit to:                                              Pay By ACH (Include invoice numbers):                                           Invoice #: 4896965
        Veritext                                                         A/C Name:Veritext                                                 Invoice Date: 3/23/2021
        P.O. Box 71303                                              Bank Name:BMO Harris Bank
        Chicago IL 60694-1303                                 Bank Addr:311 W. Monroe Chicago, IL 60606                                  Balance Due: $0.00
        Fed. Tax ID: XX-XXXXXXX                                 Account No:4353454 ABA:071000288
                                                                         Swift: HATRUS44
                                                                    Pay by Credit Card: www.veritext.com


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           Case 2:18-cv-00530-MSD-RJK Document 650-3 Filed 05/03/23 Page 73 of 99 PageID# 15686


         Veritext Corporate Services LLC
         Tel. 973-410-4098 Email: Billing-Corp@veritext.com
         Fed. Tax ID: XX-XXXXXXX




         Bill To:                                                                                                     Invoice #:         4915816
                     Norfolk Southern General
                                                                                                                   Invoice Date:       3/30/2021
                     Three Commerical Place
                     Norfolk, VA, 23510                                                                           Balance Due:              $0.00


         Case: CSX Transportation, Inc. v. Norfolk Southern Railway Company, Et Al.
                                                                                                                    Proceeding Type: Depositions
         (218CV530)
         Job #: 4488466         |   Job Date: 3/22/2021 | Delivery: Normal                         Conrail Cost                               no
                                                                                                   Share: Y/N?
         Location:                  Miami, FL
                                                                                                   NS In house                      Joe Carpenter
         Billing Atty:                                                                                Attorney:
         Scheduling Atty:           Thomas R. Gentry Esq. | Skadden Arps Slate Meagher & Flom   NS Matter/Claim                     LD201800340
                                    LLP                                                                       #:
         Witness: Howard P. Marvel                                                                   Quantity               Price        Amount

                     Transcript Services - Original Transcript(s)                                      242.00               $3.95        $955.90

                     Surcharge – Non-Standard Bus Hrs                                                   34.00               $0.50          $17.00

                     Transcript - Supplemental Surcharges*                                             242.00               $0.50        $121.00

                     Attendance - Hourly                                                                  9.00             $40.00        $360.00

                     Exhibits                                                                          374.00               $0.35        $130.90

                     Exhibits - Color                                                                   75.00               $1.00          $75.00

                     Exhibit Share                                                                        1.00            $295.00        $295.00

                     Exhibit Share Addl Presenter                                                         2.00             $95.00        $190.00

                     Veritext Exhibit Package (ACE)                                                       1.00             $48.50          $48.50

                     Realtime Services - Remote                                                        242.00               $2.65        $641.30

                     Realtime Services - Remote                                                        242.00               $2.65        $641.30

                     Realtime Services - Remote                                                        242.00               $2.65        $641.30

                     Realtime Services - Remote                                                        242.00               $2.65        $641.30

                     Realtime Services - Remote Connection                                                1.00            $125.00        $125.00



        Remit to:                                        Pay By ACH (Include invoice numbers):                      Invoice #: 4915816
        Veritext                                                   A/C Name:Veritext                             Invoice Date: 3/30/2021
        P.O. Box 71303                                        Bank Name:BMO Harris Bank
        Chicago IL 60694-1303                           Bank Addr:311 W. Monroe Chicago, IL 60606             Balance Due: $0.00
        Fed. Tax ID: XX-XXXXXXX                           Account No:4353454 ABA:071000288
                                                                   Swift: HATRUS44
                                                            Pay by Credit Card: www.veritext.com


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           Case 2:18-cv-00530-MSD-RJK Document 650-3 Filed 05/03/23 Page 74 of 99 PageID# 15687


         Veritext Corporate Services LLC
         Tel. 973-410-4098 Email: Billing-Corp@veritext.com
         Fed. Tax ID: XX-XXXXXXX




                    Rough Draft                                                                                                  242.00                  $1.55              $375.10

                    Rough Draft                                                                                                  242.00                  $1.55              $375.10

                    Rough Draft                                                                                                  242.00                  $1.55              $375.10

                    Rough Draft                                                                                                  242.00                  $1.55              $375.10

                    Witness Read and Sign Services                                                                                  1.00                $35.00                $35.00

                    Litigation Package - Secure File Suite                                                                          1.00                $35.00                $35.00

                    Veritext Virtual Primary Participants                                                                           1.00              $195.00               $195.00

                    Veritext Virtual Participants                                                                                   2.00              $195.00               $390.00

                    Concierge Tech Support                                                                                          9.50              $150.00             $1,425.00

                    Hosting & Delivery of Encrypted Files                                                                           1.00                $28.00                $28.00

         Notes:      *Supplemental Surcharges Include: Expert/Medical/Technical                                                               Invoice Total:              $8,491.90
                                                                                                                                                   Payment:             ($8,491.90)
                                                                                                                                                       Credit:                 $0.00
                                                                                                                                                     Interest:                 $0.00
                                                                                                                                              Balance Due:                     $0.00
         TERMS: Payable upon receipt. Accounts 30 days past due will bear a finance charge of 1.5% per month. Accounts unpaid after 90 days agree to pay all collection costs,
         including reasonable attorney's fees. Contact us to correct payment errors. No adjustments will be made after 90 days. For more information on charges related to our services
         please consult http://www.veritext.com/services/all-services/services-information




        Remit to:                                              Pay By ACH (Include invoice numbers):                                           Invoice #: 4915816
        Veritext                                                         A/C Name:Veritext                                                 Invoice Date: 3/30/2021
        P.O. Box 71303                                              Bank Name:BMO Harris Bank
        Chicago IL 60694-1303                                 Bank Addr:311 W. Monroe Chicago, IL 60606                                  Balance Due: $0.00
        Fed. Tax ID: XX-XXXXXXX                                 Account No:4353454 ABA:071000288
                                                                         Swift: HATRUS44
                                                                    Pay by Credit Card: www.veritext.com


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           Case 2:18-cv-00530-MSD-RJK Document 650-3 Filed 05/03/23 Page 75 of 99 PageID# 15688


         Veritext Corporate Services LLC
         Tel. 973-410-4098 Email: Billing-Corp@veritext.com
         Fed. Tax ID: XX-XXXXXXX




         Bill To:                                                                                                   Invoice #:         4918465
                     Norfolk Southern General
                                                                                                                 Invoice Date:       3/30/2021
                     Three Commerical Place
                     Norfolk, VA, 23510                                                                         Balance Due:              $0.00


         Case: CSX Transportation, Inc. v. Norfolk Southern Railway Company, Et Al.
                                                                                                                  Proceeding Type: Depositions
         (218CV530)
         Job #: 4501152       |   Job Date: 3/17/2021 | Delivery: Normal                          Conrail Cost                              No
                                                                                                  Share: Y/N?
         Location:                Miami, FL
                                                                                                  NS In house                     Joe Carpenter
         Billing Atty:                                                                               Attorney:
         Scheduling Atty:         Thomas R. Gentry Esq. | Skadden Arps Slate Meagher & Flom   NS Matter/Claim                     LD201800340
                                  LLP                                                                       #:
                                                                                                   Quantity               Price        Amount

                     Video - Initial Services                                                           1.00            $295.00        $295.00

                     Video - Additional Hours                                                           7.00             $95.00        $665.00

                     Video - Extended Hours                                                             2.00            $142.50        $285.00

                     Video - Exhibits - Linked (LEF, PTZ, XMEF, SBF)                                    1.00            $150.00        $150.00

                     Video - Electronic Access                                                          1.00             $85.00          $85.00

         Witness: Jay Strongosky                                                                   Quantity               Price        Amount

                     Video - Media and Cloud Services                                                   3.00             $46.00        $138.00

                     Video - Digitizing & Transcript Synchronization                                    3.00             $95.00        $285.00

         Witness: Robert J. Girardot                                                               Quantity               Price        Amount

                     Video - Media and Cloud Services                                                   5.00             $46.00        $230.00

                     Video - Digitizing & Transcript Synchronization                                    5.00             $95.00        $475.00

         Notes:




        Remit to:                                      Pay By ACH (Include invoice numbers):                      Invoice #: 4918465
        Veritext                                                 A/C Name:Veritext                             Invoice Date: 3/30/2021
        P.O. Box 71303                                      Bank Name:BMO Harris Bank
        Chicago IL 60694-1303                         Bank Addr:311 W. Monroe Chicago, IL 60606             Balance Due: $0.00
        Fed. Tax ID: XX-XXXXXXX                         Account No:4353454 ABA:071000288
                                                                 Swift: HATRUS44
                                                           Pay by Credit Card: www.veritext.com


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           Case 2:18-cv-00530-MSD-RJK Document 650-3 Filed 05/03/23 Page 76 of 99 PageID# 15689


         Veritext Corporate Services LLC
         Tel. 973-410-4098 Email: Billing-Corp@veritext.com
         Fed. Tax ID: XX-XXXXXXX




                                                                                                                                              Invoice Total:              $2,608.00
                                                                                                                                                   Payment:             ($2,608.00)
                                                                                                                                                       Credit:                 $0.00
                                                                                                                                                     Interest:                 $0.00
                                                                                                                                              Balance Due:                     $0.00
         TERMS: Payable upon receipt. Accounts 30 days past due will bear a finance charge of 1.5% per month. Accounts unpaid after 90 days agree to pay all collection costs,
         including reasonable attorney's fees. Contact us to correct payment errors. No adjustments will be made after 90 days. For more information on charges related to our services
         please consult http://www.veritext.com/services/all-services/services-information




        Remit to:                                              Pay By ACH (Include invoice numbers):                                           Invoice #: 4918465
        Veritext                                                         A/C Name:Veritext                                                Invoice Date: 3/30/2021
        P.O. Box 71303                                              Bank Name:BMO Harris Bank
        Chicago IL 60694-1303                                 Bank Addr:311 W. Monroe Chicago, IL 60606                                  Balance Due: $0.00
        Fed. Tax ID: XX-XXXXXXX                                 Account No:4353454 ABA:071000288
                                                                         Swift: HATRUS44
                                                                    Pay by Credit Card: www.veritext.com


91896
           Case 2:18-cv-00530-MSD-RJK Document 650-3 Filed 05/03/23 Page 77 of 99 PageID# 15690


         Veritext Corporate Services LLC
         Tel. 973-410-4098 Email: Billing-Corp@veritext.com
         Fed. Tax ID: XX-XXXXXXX




         Bill To:                                                                                                                                Invoice #:                4774638
                     Norfolk Southern General
                                                                                                                                            Invoice Date:                 1/18/2021
                     Three Commerical Place
                     Norfolk, VA, 23510                                                                                                     Balance Due:                       $0.00


         Case: CSX Transportation, Inc. v. Norfolk Southern Railway Company, Et Al.
                                                                                                                                              Proceeding Type: Depositions
         (218CV530)
         Job #: 4385262        |   Job Date: 1/5/2021 | Delivery: Normal                                                   Conrail Cost                                            no
                                                                                                                           Share: Y/N?
         Location:                 Miami, FL
                                                                                                                           NS In house                              Joe Carpenter
         Billing Atty:                                                                                                        Attorney:
         Scheduling Atty:          Thomas R. Gentry Esq. | Skadden Arps Slate Meagher & Flom                          NS Matter/Claim                               LD201800340
                                   LLP                                                                                              #:
         Witness: Carl Warren                                                                                                 Quantity                   Price              Amount

                     Video - Initial Services                                                                                       1.00              $295.00               $295.00

                     Video - Additional Hours                                                                                       6.00                $95.00              $570.00

                     Video - Extended Hours                                                                                         2.00              $142.50               $285.00

                     Video - Media and Cloud Services                                                                               7.00                $46.00              $322.00

                     Video - Electronic Access                                                                                      1.00                $85.00                $85.00

                     Video - Digitizing & Transcript Synchronization                                                                7.00                $95.00              $665.00

         Notes:                                                                                                                               Invoice Total:              $2,222.00
                                                                                                                                                   Payment:             ($2,222.00)
                                                                                                                                                       Credit:                 $0.00
                                                                                                                                                     Interest:                 $0.00
                                                                                                                                              Balance Due:                     $0.00
         TERMS: Payable upon receipt. Accounts 30 days past due will bear a finance charge of 1.5% per month. Accounts unpaid after 90 days agree to pay all collection costs,
         including reasonable attorney's fees. Contact us to correct payment errors. No adjustments will be made after 90 days. For more information on charges related to our services
         please consult http://www.veritext.com/services/all-services/services-information




        Remit to:                                              Pay By ACH (Include invoice numbers):                                           Invoice #: 4774638
        Veritext                                                         A/C Name:Veritext                                                 Invoice Date: 1/18/2021
        P.O. Box 71303                                              Bank Name:BMO Harris Bank
        Chicago IL 60694-1303                                 Bank Addr:311 W. Monroe Chicago, IL 60606                                  Balance Due: $0.00
        Fed. Tax ID: XX-XXXXXXX                                 Account No:4353454 ABA:071000288
                                                                         Swift: HATRUS44
                                                                    Pay by Credit Card: www.veritext.com


91896
           Case 2:18-cv-00530-MSD-RJK Document 650-3 Filed 05/03/23 Page 78 of 99 PageID# 15691


         Veritext Corporate Services LLC
         Tel. 973-410-4098 Email: Billing-Corp@veritext.com
         Fed. Tax ID: XX-XXXXXXX




         Bill To:                                                                                                      Invoice #:         4778898
                     Norfolk Southern General
                                                                                                                    Invoice Date:       1/20/2021
                     Three Commerical Place
                     Norfolk, VA, 23510                                                                            Balance Due:              $0.00


         Case: CSX Transportation, Inc. v. Norfolk Southern Railway Company, Et Al.
                                                                                                                     Proceeding Type: Depositions
         (218CV530)
         Job #: 4380445         |   Job Date: 1/8/2021 | Delivery: Normal                            Conrail Cost                               N
                                                                                                     Share: Y/N?
         Location:                  Miami, FL
                                                                                                     NS In house                     Joe Carpenter
         Billing Atty:                                                                                  Attorney:
         Scheduling Atty:           Michael E. Lacy | Troutman Pepper Hamilton Sanders LLP     NS Matter/Claim                       LD201800202
                                                                                                             #:
         Witness: Frederik Eliasson                                                                   Quantity               Price        Amount

                     Transcript Services - Original Transcript(s)                                       256.00               $3.95      $1,011.20

                     Attendance - Hourly                                                                   7.00             $40.00        $280.00

                     Exhibits                                                                           282.00               $0.35          $98.70

                     Exhibit Share                                                                         1.00            $295.00        $295.00

                     Veritext Exhibit Package (ACE)                                                        1.00             $48.50          $48.50

                     Rough Draft                                                                        256.00               $1.55        $396.80

                     Witness Read and Sign Services                                                        1.00             $35.00          $35.00

                     Litigation Package - Secure File Suite                                                1.00             $35.00          $35.00

                     Veritext Virtual Primary Participants                                                 1.00            $195.00        $195.00

                     Hosting & Delivery of Encrypted Files                                                 1.00             $28.00          $28.00

         Notes:




        Remit to:                                        Pay By ACH (Include invoice numbers):                       Invoice #: 4778898
        Veritext                                                   A/C Name:Veritext                              Invoice Date: 1/20/2021
        P.O. Box 71303                                        Bank Name:BMO Harris Bank
        Chicago IL 60694-1303                           Bank Addr:311 W. Monroe Chicago, IL 60606              Balance Due: $0.00
        Fed. Tax ID: XX-XXXXXXX                           Account No:4353454 ABA:071000288
                                                                   Swift: HATRUS44
                                                              Pay by Credit Card: www.veritext.com


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           Case 2:18-cv-00530-MSD-RJK Document 650-3 Filed 05/03/23 Page 79 of 99 PageID# 15692


         Veritext Corporate Services LLC
         Tel. 973-410-4098 Email: Billing-Corp@veritext.com
         Fed. Tax ID: XX-XXXXXXX




                                                                                                                                              Invoice Total:              $2,423.20
                                                                                                                                                   Payment:             ($2,423.20)
                                                                                                                                                       Credit:                 $0.00
                                                                                                                                                     Interest:                 $0.00
                                                                                                                                              Balance Due:                     $0.00
         TERMS: Payable upon receipt. Accounts 30 days past due will bear a finance charge of 1.5% per month. Accounts unpaid after 90 days agree to pay all collection costs,
         including reasonable attorney's fees. Contact us to correct payment errors. No adjustments will be made after 90 days. For more information on charges related to our services
         please consult http://www.veritext.com/services/all-services/services-information




        Remit to:                                              Pay By ACH (Include invoice numbers):                                           Invoice #: 4778898
        Veritext                                                         A/C Name:Veritext                                                Invoice Date: 1/20/2021
        P.O. Box 71303                                              Bank Name:BMO Harris Bank
        Chicago IL 60694-1303                                 Bank Addr:311 W. Monroe Chicago, IL 60606                                  Balance Due: $0.00
        Fed. Tax ID: XX-XXXXXXX                                 Account No:4353454 ABA:071000288
                                                                         Swift: HATRUS44
                                                                    Pay by Credit Card: www.veritext.com


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           Case 2:18-cv-00530-MSD-RJK Document 650-3 Filed 05/03/23 Page 80 of 99 PageID# 15693


         Veritext Corporate Services LLC
         Tel. 973-410-4098 Email: Billing-Corp@veritext.com
         Fed. Tax ID: XX-XXXXXXX




         Bill To:                                                                                                                                Invoice #:                4780076
                     Norfolk Southern General
                                                                                                                                            Invoice Date:                 1/21/2021
                     Three Commerical Place
                     Norfolk, VA, 23510                                                                                                     Balance Due:                       $0.00


         Case: CSX Transportation, Inc. v. Norfolk Southern Railway Company, Et Al.
                                                                                                                                              Proceeding Type: Depositions
         (218CV530)
         Job #: 4380445        |   Job Date: 1/8/2021 | Delivery: Normal                                                   Conrail Cost                                             N
                                                                                                                           Share: Y/N?
         Location:                 Miami, FL
                                                                                                                           NS In house                              Joe Carpenter
         Billing Atty:                                                                                                        Attorney:
         Scheduling Atty:          Michael E. Lacy | Troutman Pepper Hamilton Sanders LLP                             NS Matter/Claim                               LD201800202
                                                                                                                                    #:
         Witness: Frederik Eliasson                                                                                           Quantity                   Price              Amount

                     Video - Initial Services                                                                                       1.00              $295.00               $295.00

                     Video - Additional Hours                                                                                       6.00                $95.00              $570.00

                     Video - Media and Cloud Services                                                                               6.00                $46.00              $276.00

                     Video - Electronic Access                                                                                      1.00                $85.00                $85.00

                     Video - Digitizing & Transcript Synchronization                                                                6.00                $95.00              $570.00

         Notes:                                                                                                                               Invoice Total:              $1,796.00
                                                                                                                                                   Payment:             ($1,796.00)
                                                                                                                                                       Credit:                 $0.00
                                                                                                                                                     Interest:                 $0.00
                                                                                                                                              Balance Due:                     $0.00
         TERMS: Payable upon receipt. Accounts 30 days past due will bear a finance charge of 1.5% per month. Accounts unpaid after 90 days agree to pay all collection costs,
         including reasonable attorney's fees. Contact us to correct payment errors. No adjustments will be made after 90 days. For more information on charges related to our services
         please consult http://www.veritext.com/services/all-services/services-information




        Remit to:                                              Pay By ACH (Include invoice numbers):                                           Invoice #: 4780076
        Veritext                                                         A/C Name:Veritext                                                 Invoice Date: 1/21/2021
        P.O. Box 71303                                              Bank Name:BMO Harris Bank
        Chicago IL 60694-1303                                 Bank Addr:311 W. Monroe Chicago, IL 60606                                  Balance Due: $0.00
        Fed. Tax ID: XX-XXXXXXX                                 Account No:4353454 ABA:071000288
                                                                         Swift: HATRUS44
                                                                    Pay by Credit Card: www.veritext.com


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           Case 2:18-cv-00530-MSD-RJK Document 650-3 Filed 05/03/23 Page 81 of 99 PageID# 15694


         Veritext Corporate Services LLC
         Tel. 973-410-4098 Email: Billing-Corp@veritext.com
         Fed. Tax ID: XX-XXXXXXX




         Bill To: Michael E. Lacy                                                                                   Invoice #:        4225682
                     Troutman Pepper Hamilton Sanders LLP
                                                                                                                 Invoice Date:        3/3/2020
                     1001 Haxall Point
                     15th Floor                                                                                  Balance Due:              $0.00
                     Richmond, VA, 23219


         Case: Csx Transporation Inc v. Norfolk Southern Railway (218CV530MSDLRL)                                 Proceeding Type: Depositions

         Job #: 3990713         |   Job Date: 2/21/2020 | Delivery: Normal

         Location:                  Atlanta, GA
         Billing Atty:              Michael E. Lacy
         Scheduling Atty:           Robert W. Mcfarland Esq | McGuire Woods LLP

         Witness: Jerry Hall                                                                         Quantity             Price          Amount

                     Transcript Services - Priority Request                                           123.00              $2.80          $344.40

                     Transcript Services - Certified Transcript                                       123.00              $3.50          $430.50

                     Exhibits                                                                         137.00              $0.15           $20.55

                     Litigation Package - Secure File Suite                                              1.00            $48.00           $48.00

         Witness: Thomas Hurlbut                                                                     Quantity             Price          Amount

                     Transcript Services - Priority Request                                           123.00              $2.80          $344.40

                     Transcript Services - Certified Transcript                                       123.00              $3.50          $430.50

                     Exhibits                                                                         130.00              $0.15           $19.50

                     Exhibits - Color                                                                   18.00             $0.90           $16.20

                     Litigation Package - Secure File Suite                                              1.00            $48.00           $48.00

                                                                                                     Quantity             Price          Amount

                     Hosting & Delivery of Encrypted Files                                               1.00            $28.00           $28.00

         Notes:




     Remit to:                                           Pay By ACH (Include invoice numbers):                     Invoice #: 4225682
     Veritext                                                      A/C Name:Veritext                            Invoice Date: 3/3/2020
     P.O. Box 71303                                           Bank Name:BMO Harris Bank
     Chicago IL 60694-1303                              Bank Addr:311 W. Monroe Chicago, IL 60606           Balance Due: $0.00
     Fed. Tax ID: XX-XXXXXXX                              Account No:4353454 ABA:071000288
                                                                   Swift: HATRUS44
                                                              Pay by Credit Card: www.veritext.com


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           Case 2:18-cv-00530-MSD-RJK Document 650-3 Filed 05/03/23 Page 82 of 99 PageID# 15695


         Veritext Corporate Services LLC
         Tel. 973-410-4098 Email: Billing-Corp@veritext.com
         Fed. Tax ID: XX-XXXXXXX




                                                                                                                                              Invoice Total:              $1,730.05
                                                                                                                                                   Payment:             ($1,730.05)
                                                                                                                                                       Credit:                 $0.00
                                                                                                                                                     Interest:                 $0.00
                                                                                                                                              Balance Due:                     $0.00
         TERMS: Payable upon receipt. Accounts 30 days past due will bear a finance charge of 1.5% per month. Accounts unpaid after 90 days agree to pay all collection costs,
         including reasonable attorney's fees. Contact us to correct payment errors. No adjustments will be made after 90 days. For more information on charges related to our services
         please consult http://www.veritext.com/services/all-services/services-information




     Remit to:                                                 Pay By ACH (Include invoice numbers):                                           Invoice #: 4225682
     Veritext                                                            A/C Name:Veritext                                                Invoice Date: 3/3/2020
     P.O. Box 71303                                                 Bank Name:BMO Harris Bank
     Chicago IL 60694-1303                                    Bank Addr:311 W. Monroe Chicago, IL 60606                                  Balance Due: $0.00
     Fed. Tax ID: XX-XXXXXXX                                    Account No:4353454 ABA:071000288
                                                                         Swift: HATRUS44
                                                                    Pay by Credit Card: www.veritext.com


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Case 2:18-cv-00530-MSD-RJK Document 650-3 Filed 05/03/23 Page 83 of 99 PageID# 15696
Case 2:18-cv-00530-MSD-RJK Document 650-3 Filed 05/03/23 Page 84 of 99 PageID# 15697
Case 2:18-cv-00530-MSD-RJK Document 650-3 Filed 05/03/23 Page 85 of 99 PageID# 15698
     Case 2:18-cv-00530-MSD-RJK Document 650-3 Filed 05/03/23 Page 86 of 99 PageID# 15699
                                                                                                                                                            Invoice Issued by TSG Reporting, Inc.
                                                                                                                                                                                            INVOICE DATE: 2/17/2021
                                                                                                                                                                                                INVOICE #: 2039701
                                                                                                                                                                                                   JOB #: 189070




BILL TO:                            Skadden, Arps, Slate, Meagher & Flom LLP
                                    c/o Tara Reinhart
                                    1440 New York Avenue, N.W.
                                    Washington, DC 20005 US
SHIP TO:                            Skadden, Arps, Slate, Meagher & Flom LLP
                                    c/o Tara Reinhart
                                    1440 New York Avenue, N.W.
                                    Washington, DC 20005 US
CASE:                               CSX Transportation, Inc. v. Norfolk Southern Railway Company
WITNESS:                            Christopher Luebbers, Michael McClellan
JOB DATE:                           1/28/2021
LOCATION:                           Telephonic, Richmond, VA, 23173, US

NOTES:

SHIP VIA                             -                           TERMS                                   Net 30

Services                                                                                                                                       Qty                 Pages                   Rate                     Amount
Michael McClellan
Certified Transcript                                                                                                                             1                   103                  $3.45                               $355.35
Certified Transcript - Early AM Pages                                                                                                            1                    20                  $1.25                                 $25.00
Compressed / ASCII / Word Index - Complimentary                                                                                                  1                                       $45.00                                    $0.00
Remote Real-time Transcription                                                                                                                   2                   103                  $1.95                               $401.70
Rough Transcript                                                                                                                                 1                   103                  $1.50                               $154.50
Exhibits - Scanned & Hyperlinked - B&W                                                                                                           1                    14                  $0.20                                    $2.80
File Creation Fee - Hyperlinked Exhibits - Complimentary                                                                                         1                                       $45.00                                    $0.00
Christopher Luebbers
Certified Transcript                                                                                                                             1                   161                  $3.45                               $555.45
Compressed / ASCII / Word Index - Complimentary                                                                                                  1                                       $45.00                                    $0.00
Remote Real-time Transcription                                                                                                                   2                   161                  $1.95                               $627.90
Rough Transcript                                                                                                                                 1                   161                  $1.50                               $241.50
Exhibits - Scanned & Hyperlinked - B&W                                                                                                           1                    62                  $0.20                                 $12.40
File Creation Fee - Hyperlinked Exhibits - Complimentary                                                                                         1                                       $45.00                                    $0.00
Other Services
Remote Real-time Transcription Connectivity Charge / User                                                                                        2                                      $125.00                               $250.00
                                                                                                                                                                                   SUBTOTAL                                $2,626.60
                                                                                                                                                                                           TOTAL                           $2,626.60




                                                                                           THANK YOU FOR YOUR BUSINESS!
Please make all checks payable to: TSG Reporting Inc.                             Remit by Mail to: TSG Reporting Inc. PO Box 95568 Grapevine, TX 76099-9708                                              Federal ID # XX-XXXXXXX
       For prompt payment processing, please include the invoice # with your check. All balances in arrears will be assigned a late fee of 1.5% per month, not exceeded the legal limit. If you have any questions, please call TSG.
     Case 2:18-cv-00530-MSD-RJK Document 650-3 Filed 05/03/23 Page 87 of 99 PageID# 15700
                                                                                                                                                            Invoice Issued by TSG Reporting, Inc.
                                                                                                                                                                                            INVOICE DATE: 2/17/2021
                                                                                                                                                                                                INVOICE #: 2039702
                                                                                                                                                                                                   JOB #: 189070




BILL TO:                            Skadden, Arps, Slate, Meagher & Flom LLP
                                    c/o Tara Reinhart
                                    1440 New York Avenue, N.W.
                                    Washington, DC 20005 US
SHIP TO:                            Skadden, Arps, Slate, Meagher & Flom LLP
                                    c/o Tara Reinhart
                                    1440 New York Avenue, N.W.
                                    Washington, DC 20005 US
CASE:                               CSX Transportation, Inc. v. Norfolk Southern Railway Company
WITNESS:                            Michael McClellan, Christopher Luebbers
JOB DATE:                           1/28/2021
LOCATION:                           Telephonic, Richmond, VA, 23173, US

NOTES:

SHIP VIA                             -                           TERMS                                   Net 30

Services                                                                                                           Qty                       Media                          Rate                               Amount
Michael McClellan
Video Sync / Tape                                                                                                    1                            2                      $125.00                                              $250.00
Certified - MPEG - Complimentary                                                                                     1                            2                       $50.00                                                   $0.00
Christopher Luebbers
Video Sync / Tape                                                                                                    1                            3                      $125.00                                              $375.00
Certified - MPEG - Complimentary                                                                                     1                            3                       $50.00                                                   $0.00
                                                                                                                                                                        SUBTOTAL                                              $625.00
                                                                                                                                                                               TOTAL                                          $625.00




                                                                                           THANK YOU FOR YOUR BUSINESS!
Please make all checks payable to: TSG Reporting Inc.                             Remit by Mail to: TSG Reporting Inc. PO Box 95568 Grapevine, TX 76099-9708                                              Federal ID # XX-XXXXXXX
       For prompt payment processing, please include the invoice # with your check. All balances in arrears will be assigned a late fee of 1.5% per month, not exceeded the legal limit. If you have any questions, please call TSG.
Case 2:18-cv-00530-MSD-RJK Document 650-3 Filed 05/03/23 Page 88 of 99 PageID# 15701
Case 2:18-cv-00530-MSD-RJK Document 650-3 Filed 05/03/23 Page 89 of 99 PageID# 15702
     Case 2:18-cv-00530-MSD-RJK Document 650-3 Filed 05/03/23 Page 90 of 99 PageID# 15703

                                                                                                                                                                                                                     INVOICE
                                                                                                                                                                           INVOICE DATE: 1/7/2021
                                                                                                                                                                               INVOICE #: 2036974
                                                                                                                                                                                  JOB #: 185396




BILL TO:                            Skadden, Arps, Slate, Meagher & Flom LLP
                                    c/o Michael Hohmann
                                    1440 New York Avenue, N.W.
                                    Washington, DC 20005 US
SHIP TO:
CASE:                               CSX Transportation, Inc. v. Norfolk Southern Railway Company
WITNESS:                            Dr. Robert Martinez
JOB DATE:                           10/23/2020
LOCATION:                           Telephonic, Richmond, VA, 23173, US

NOTES:

SHIP VIA                             -                           TERMS                                   Net 30

Services                                                                          Qty                                Media                                 Rate                                          Amount
Certified - MPEG                                                                    1                                    6                                $50.00                                                              $300.00
                                                                                                                                                           SUBTOTAL                                                           $300.00
                                                                                                                                                                   TOTAL                                                      $300.00




                                                                                           THANK YOU FOR YOUR BUSINESS!
Please make all checks payable to: TSG Reporting Inc.                             Remit by Mail to: TSG Reporting Inc. PO Box 95568 Grapevine, TX 76099-9708                                              Federal ID # XX-XXXXXXX
       For prompt payment processing, please include the invoice # with your check. All balances in arrears will be assigned a late fee of 1.5% per month, not exceeded the legal limit. If you have any questions, please call TSG.
Case 2:18-cv-00530-MSD-RJK Document 650-3 Filed 05/03/23 Page 91 of 99 PageID# 15704
Case 2:18-cv-00530-MSD-RJK Document 650-3 Filed 05/03/23 Page 92 of 99 PageID# 15705
Case 2:18-cv-00530-MSD-RJK Document 650-3 Filed 05/03/23 Page 93 of 99 PageID# 15706
Case 2:18-cv-00530-MSD-RJK Document 650-3 Filed 05/03/23 Page 94 of 99 PageID# 15707
Case 2:18-cv-00530-MSD-RJK Document 650-3 Filed 05/03/23 Page 95 of 99 PageID# 15708
Case 2:18-cv-00530-MSD-RJK Document 650-3 Filed 05/03/23 Page 96 of 99 PageID# 15709
Case 2:18-cv-00530-MSD-RJK Document 650-3 Filed 05/03/23 Page 97 of 99 PageID# 15710
Case 2:18-cv-00530-MSD-RJK Document 650-3 Filed 05/03/23 Page 98 of 99 PageID# 15711
Case 2:18-cv-00530-MSD-RJK Document 650-3 Filed 05/03/23 Page 99 of 99 PageID# 15712
